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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 9:20-cv-81205-RAR

    SECURITIES AND EXCHANGE COMMISSION,

                                  Plaintiff,

    v.

    COMPLETE BUSINESS SOLUTIONS GROUP,
      INC. d/b/a/ PAR FUNDING, et al.,

                            Defendants.
    ____________________________________________/

                 SPECIALLY APPEARING DEFENDANT DEAN VAGNOZZI'S
                RESPONSE TO SECURITIES AND EXCHANGE COMMISSION’S
                       FIRST REQUEST FOR INTERROGATORIES

           Specially appearing Defendant DEAN VAGNOZZI (hereinafter “Defendant”), by and

    through his undersigned counsel, hereby responds to Plaintiff SECURITIES AND EXCHANGE

    COMMISSION’S (“Plaintiff”) First Request for Interrogatories (the “Request”) as follows:

                           GENERAL STATEMENT AND OBJECTIONS

           1.      Defendant objects to the Request for lack of due process under the United States

    Constitution. The Court has imposed a two-calendar day response deadline without having

    provided Defendant any notice or opportunity to contest expedited discovery. This violates the

    Federal Rules of Civil Procedure and the United States Constitution. Defendant has not had

    adequate time to investigate his responses to the Request, which violates his Constitutional rights.

    Moreover, Defendant's counsel only appeared in this action the day prior to service of the Request,

    and has not had adequate time to investigate the allegations and the Interrogatory in order to

    properly advise Defendant on his responses, which further violates Defendant's Constitutional




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    rights. To the extent this Request is attempted to be used in any criminal prosecution, the

    circumstances of the Request further deny Defendant his right to effective assistance of counsel

    under the United States Constitution.

           2.      In responding to this Request, Defendant does not concede the information

    requested is relevant to the subject matter of this litigation or reasonably calculated to lead to the

    discovery of admissible evidence. Any response, in whole or in part, to the request is not intended

    to be, and should not be construed as, a waiver by Defendant of all or any part of any objection.

    Defendant reserves the right to object, and hereby gives notice of its intent to object, to the

    admissibility into any information disclosed herein.

           3.      Defendant objects to the Request to the extent that it seeks to impose obligations

    that exceed, or are different from, those imposed by the Federal Rules of Civil Procedure and the

    Local Rules of the United States District Court for the Southern District of Florida.

           4.      Defendant objects to the Request to the extent it calls for the disclosure of

    information that is not in Defendant's possession, custody, or control, or that is not ascertainable

    after a reasonably diligent search.

           5.      Defendant reserves the right to supplement its responses as more information is

    available.

           6.      Defendant objects to the Request to the extent it seeks information that is not

    relevant to the issues in the pending action or reasonably calculated to lead to the discovery of

    admissible evidence supporting the claims in this proceeding.

           7.      Defendant objects to the Request to the extent it is, in whole or part, vague or

    ambiguous, duplicative, harassing, overbroad, or unduly burdensome, not restricted by time or




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    subject matter, in that the burdens imposed by responding to the Request clearly outweighs any

    potential value to Plaintiff of the response.

            8.      Defendant objects to the Request to the extent it seeks information that is subject

    to the attorney-client privilege, the attorney work product immunity doctrine, or any other

    applicable privilege or doctrine. Any inadvertent disclosure of such information shall not be

    deemed a waiver of the attorney-client privilege, the attorney work product immunity doctrine, or

    any other applicable privilege or doctrine.

            9.      Defendant objects to the Request to the extent it seeks information constituting

    trade secrets or other financial, strategic, confidential, proprietary, or otherwise highly sensitive

    commercial or personal information without protective measures necessary to prevent disclosure.

            10.     No incidental or implied admissions are intended by the, or shall be inferred from,

    response to the Request. That Defendant has responded to any Request is not intended to be, and

    shall not be construed as, a waiver by Defendant of any part of any General or specific objection.

    Nor shall such a response be construed as a waiver of any argument, whether or not as of yet

    asserted, in support of judgment in favor of Defendant.

            11.     Defendant objects to the Request insofar as it contains misstatements of fact and

    inaccurate assumptions. Nothing in the response shall be construed as constituting or implying an

    admission of any allegation or agreement with any assertion or characterization in the Request.

            12.     Defendant objects to the Request to the extent it seek information that would require

    the production of information that include private consumer, banking, and financial information

    protected by various state and federal privacy laws.

            13.     Defendant incorporates each of these General Objections into the specific response

    below as if fully set forth therein.



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           14.     Without waiver of any of the foregoing general objections, Defendant responds and

    specifically objects to Plaintiff’s Request as follows:

                RESPONSE AND OBJECTION TO INDIVIDUAL INTERROGATORY


           1.      State the total amount of money, including but not limited to profits and

    compensation, you received in connection with or as the result of the Par Funding investment.

           Response:       Defendant objects to this interrogatory on the grounds that the

           interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of

           the Complaint nor Securities and Exchange Commission’s Emergency Ex Parte

           Motion for Temporary Restraining Order and Other Relief. Particularly, this

           Interrogatory is irrelevant and disproportionate for purposes of the August 4, 2020

           Preliminary Injunction Hearing. This Interrogatory also seeks information, which

           is irrelevant and disproportionate to the claims or defenses of this action. Defendant

           further objects to this interrogatory to the extent that it seeks information that is not

           in the Defendant’s possession, custody, or control. Currently, records that would be

           necessary to respond to this Request are subject to the Court's receivership.

           Defendant has no access to his office in order to retrieve the information as a result

           of the Court's receivership. Specifically, the Receiver’s letter to Defendant, attached

           hereto as “Exhibit A”, directs Defendant to: (1)“[r]efrain from attempting to access

           the premises of ABetterFinancialPlan.com”; (2) “Immediately turn over to me any

           and all objects, assets or documents, including, but not limited to, any devices,

           writings, client or investor files and documents, ESI, invoices, and bank records

           pertaining to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other

           Receivership Entities that are within your possession”; (3) refrain from accessing


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    Dated: August 3, 2020

                                                 AKERMAN LLP
                                                 Three Brickell City Centre, Suite 1100
                                                 98 Southeast Seventh Street
                                                 Miami, Florida 33131
                                                 Telephone: (305) 374-5600
                                                 Facsimile: (305) 374-5095

                                                 By: /s/ Brian P. Miller
                                                    Brian P. Miller, Esq.
                                                    Florida Bar No. 980633
                                                    E-mail: brian.miller@akerman.com
                                                    E-mail: Kelly.connolly@akerman.com
                                                    Alejandro J. Paz, Esq.
                                                    Florida Bar No. 1011728
                                                    E-mail: Alejandro.paz@akerman.com
                                                    Secondary: marylin.herrera@akerman.com

                                                     Attorneys for Dean Vagnozzi




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing Specially Appearing

    Defendant Dean Vagnozzi's Response to Securities and Exchange Commission’s First Request for

    Interrogatories was served electronically this 3rd day of August, 2020 to:


     Amie Riggle Berlin                                 Daniel Fridman
     Securities and Exchange Commission                 Fridman Fels & Soto, PLLC
     801 Brickell Avenue, Suite 1800                    2525 Ponce de Leon Blvd., Suite 750
     Miami, FL 33131                                    Coral Gables, FL 33134
     Direct: 305-982-6322                               Tel: 305-569-7720
     Tel: 305-982-6300                                  Fax: 786-627-4145
     Fax: 305-536-4154                                  Email: dfridman@ffslawfirm.com
     Email: berlina@sec.gov                             Secondary: ypantin@ffslawfirm.com

     Attorney for Plaintiff                             James R. Froccaro, Jr.
                                                        20 Vanderventer Avenue, Suite 103W
                                                        Port Washington, NY 11050
                                                        Tel: 516-944-5062
                                                        Email: jrfresq61@aol.com

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                                                       Attorneys for Defendant Joseph W. LaForte

     Joseph A. DeMaria                                 Ryan K. Stumphauzer
     Robert F. Elgidely                                Timothy A. Kolaya
     Fox Rothschild LLP                                Adam M. Foslid
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     2 South Biscayne Blvd.                            PLLC
     Miami, FL 33131                                   Two South Biscayne Blvd., Suite 1600
     Tel: 305-442-6547                                 Miami, FL 33131
     Email: JDeMaria@FoxRothschild.com                 Tel: 305-614-1400
     Email: Relgidely@FoxRothschild.com                Fax: 305-614-1425
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     hayle@foxrothschild.com                           Email: tkolaya@sfslaw.com
                                                       Email: afoslid@sfslaw.com
     Alex L. Braunstein
     Fox Rothschild LLP                                Attorneys for Receiver, Ryan K. Stumphauzer,
     777 S. Flagler Drive, Suite 1700 West Tower       court-appointed receiver over Defendants
     West Palm Beach, FL 33401                         Complete Business Solutions Group, Inc. d/b/a
     Tel: 561-804-4497                                 Par Funding; Full Spectrum Processing, Inc.;
     Email: ABraunstein@FoxRothschild.com              ABetterFinancialPlan.com LLC d/b/a A Better
                                                       Financial Plan; ABFP Management Company,
     Attorneys for Complete Business Solutions         LLC f/k/a Pillar Life Settlement Management
     Group, Inc., d/b/a Par Funding, Full              Company, LLC; ABFP Income Fund LLC;
     Spectrum Processing, Inc., Lisa McElhone,         ABFP Income Fund 2, L.P.; United Fidelis
     Joseph Cole Barleta and Joseph W. LaForte         Group Corp.,; Fidelis Financial Planning
     and relief defendant L.M.E. 2017 Family           LLC; Retirement Evolution Group, LLC; RE
     Trust                                             Income Fund LLC; and RE Income Fund 2
                                                       LLC

     Joel Hirschhorn                                   Gaetan J. Alfano
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     Fax: 305-416-6887                                 Phaladelphia, PA 19103
     Email: joel.hirschhorn@gray-robinson.com          Tel: 215-320-6200
                                                       Email: GJA@pietragallo.com
     Attorneys for Relief Defendant L.M.E. 2017        Email: DKR@pietragallo.com
     Family Trust
                                                       Attorney for Receiver, Ryan K. Stumphauzer

     Daniel I. Small                                   Jeff Marcus
     Allison Kernisky                                  Daniel L. Rashbaum
     Holland & Knight LLP                              Jason L. Mays
     701 Bickell Avenue, Suite 3300                    Marcus Neiman Rashbaum & Pineiro LLP

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     Miami, FL 33131                                  2 South Biscayne Blvd., Suite 1750
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     Fax: 305-789-7799                                Tel: 305-400-4260
     Email: Daniel.Small@hklaw.com                    Email: jmarcus@mnrlawfirm.com
     Email: Allison.Kernisky@hklaw.com                Email: drashbaum@mnrlawfirm.com
                                                      Email: jmays@mnrlawfirm.com
     Attorneys for John Gissas, Retirement
     Evolution Group, LLC, Retirement Evolution       Attorneys for Defendant Perry S. Abbonizio
     Income Fund, LLC f/k/a RE Income Fund
     LLC and RE Income Fund 2, LLC

     Jeffrey L. Cox
     Sallah Astarita & Cox, LLC
     3100 N. Military Trail, Suite 210
     Boca Raton, FL 33431
     Tel: 561-989-9080
     Fax: 561-989-9020
     Email: jcox@sallahlaw.com

     Attorneys for Defendant Michael C. Furman

                                                        /s/ Brian P. Miller
                                                        Attorney




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                                          154


         Ryan K. Stumphauzer
         Telephone: 305. 614. 1400
         rstumphauzer@sfslaw.com

                                                                                                        July 31, 2020
           VIA EMAIL AND FEDERAL EXPRESS

           Dean J. Vagnozzi
           c/o Brian Miller, Esq.
           Akerman LLP
           Three Brickell City Centre
           98 Southeast Seventh Street
           Suite 1100
           Miami, FL 33131
           brian.miller@akerman.com


                        Re:          SEC v. CBSG., et al, No. 20-CIV-81205 (S.D. Fla.)

           Dear Mr. Vagnozzi,

                   In light of a preliminary injunction entered on July 28, 2020 by the Honorable Rodolfo A.
           Ruiz in the United States District Court for the Southern District of Florida, I am writing this letter
           to direct you to preserve all documents, assets and electronically-stored information (ESI) relating
           to ABetterFinancialPlan.com d/b/a A Better Financial Plan.

                   On July 27, 2020, Judge Ruiz appointed me as Receiver in the above-referenced case. I
           am enclosing with this letter a copy of the Order Granting Plaintiff Securities and Exchange
           Commission’s Motion for Appointment of Receiver (“the Receivership Order”), along with a copy
           of the Order Granting Emergency Ex Parte Motion for Temporary Restraining Order and Other
           Relief (the “Order Granting TRO”), which was entered on July 28, 2020.

                   The Receiver appointment relates to the following entities: Complete Business Solutions
           Group, Inc. d/b/a Par Funding, Full Spectrum Processing, Inc., ABetterFinancialPlan.com LLC
           d/b/a A Better Financial Plan, ABFP Management Company, LLC f/k/a Pillar Life Settlement
           Management Company, LLC, ABFP Income Fund, LLC, ABFP Income Fund 2, L.P., United
           Fidelis Group Corp., Fidelis Financial Planning LLC, Retirement Evolution Group, LLC, RE
           Income Fund LLC, and RE Income Fund 2 LLC (the “Receivership Entities”).

                   Pursuant to the Receivership Order, the Receiver has been directed by the United States
           District Court for the Southern District of Florida to take possession of and safeguard all property
           and assets of the Receivership entities, including all ESI and accounts, immediately upon the Court
           granting a temporary restraining order.

                  I understand that you are affiliated with ABetterFinancialPlan.com d/b/a A Better Financial
           Plan. Accordingly, I am writing to direct you to:



TWO S. BISCAYNE BOULEVARD, SUITE 2550 | MIAMI, FL 33131 | T + 1 305. 614. 1400 | F + 1 305. 614. 1425
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  _______________________________________


             •   Refrain from attempting to access the premises of ABetterFinancialPlan.com d/b/a
                 A Better Financial Plan, located at 234 Mall Blvd, Suite 270 King of Prussia, PA
                 19406-2940;

             •   Immediately turn over to me any and all objects, assets or documents, including,
                 but not limited to, any devices, writings, client or investor files and documents, ESI,
                 invoices, and bank records pertaining to ABetterFinancialPlan.com d/b/a A Better
                 Financial Plan, or any other Receivership Entities that are within your possession;

             •   Do not destroy or tamper with any objects, assets or documents, including, but not
                 limited to, any devices, writings, client or investor files and documents, ESI,
                 invoices or bank records relating to ABetterFinancialPlan.com d/b/a A Better
                 Financial Plan, or any other Receivership Entities; and

             •   Do not access any bank accounts, email accounts, or other electronic media
                 pertaining to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other
                 Receivership Entities.

          Please be advised that pursuant to the Receivership Order you are hereby restrained and
  enjoined from directly or indirectly taking any action, or causing any action to be taken, without
  the express written agreement of the Receiver that interferes with or hinders the Receiver’s efforts
  to take control, possession, or management of any accounts belonging to the Receivership Entities.
  Please contact me at rstumphauzer@sfslaw.com if you have any questions or concerns.

                                                                Sincerely,


                                                                ___________________________
                                                                Ryan K. Stumphauzer, Esq.


  Enclosures: Receivership Order, Order Granting TRO
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

       ORDER GRANTING PLAINTIFF’S URGENT MOTION TO AMEND ORDER
         APPOINTING RECEIVER TO INCLUDE LITIGATION INJUNCTION

         THIS CAUSE comes before the Court upon Plaintiff Securities and Exchange

  Commission’s (“Commission”) Urgent Motion to Amend Order Appointing Receiver to Include

  Litigation Injunction [ECF No. 48] (“Motion”), filed on July 31, 2020. In the Motion, Plaintiff

  seeks to amend the Court’s Order Granting Plaintiff Securities and Exchange Commission’s

  Motion for Appointment of Receiver [ECF No. 36] (“Order Appointing Receiver”), entered on

  July 27, 2020.

         Specifically, Plaintiff seeks to amend the Order Appointing Receiver to include a litigation

  injunction in all cases and proceedings to which the following entities are a party: Complete

  Business Solutions Group, Inc. d/b/a Par Funding (“Par Funding”), Full Spectrum Processing, Inc.,

  ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”), ABFP Management

  Company, LLC f/k/a Pillar Life Settlement Management Company, LLC (“ABFP Management”),

  ABFP Income Fund, LLC, ABFP Income Fund 2, L.P., United Fidelis Group Corp., Fidelis

  Financial Planning LLC, Retirement Evolution Group, LLC, RE Income Fund LLC, and RE


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  Income Fund 2 LLC (collectively, the “Receivership Entities”). The Receiver agrees with and

  joins in the request for this relief. For the reasons set forth in the Motion, it is hereby

           ORDERED AND ADJUDGED that Plaintiff Securities and Exchange Commission’s

   Motion to Amend Order Appointing Receiver to Include Litigation Injunction [ECF No. 48] is

   GRANTED.

           The Receiver, Ryan Stumphauzer, is authorized, empowered, and directed as follows

   until further Order of the Court:

           1.     To take custody, control, and possession of all Receivership Entity records,

   documents, and materials, and to safeguard these items until further Order of the Court;

           2.     To secure and safeguard the Receivership Entities’ information technology, data,

   documents, storage systems, and documents, including by making contact with any third-party

   vendors, such as movers and information technology personnel, to assist in this process;

           3.     To engage and employ persons in his discretion to assist him in carrying out his

   duties and responsibilities hereunder, including, but not limited to, accountants, lawyers, and

   paralegals (“Retained Personnel”);

           4.     To take any other action as necessary and appropriate for the preservation of the

   Receivership Entities’ property interests or to prevent the dissipation or concealment of such

   property interests; and

           5.     To take such other action as may be approved by this Court.

           6.     Additionally, the Receiver shall promptly give notice of his appointment to all

   known officers, directors, agents, employees, shareholders, creditors, debtors, managers, and

   general and limited partners of each Receivership Entity, as the Receiver deems necessary or

   advisable to effectuate the operation of the receivership.



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           7.    In furtherance of his responsibilities in this matter, the Receiver is authorized to

   communicate with, and/or serve this Order upon, any person, entity or government office that he

   deems appropriate to inform them of the status of this matter and the Receiver’s appointment.

           8.    The Receiver and Retained Personnel are entitled to reasonable compensation and

   expense reimbursement from the Receivership Entities’ estates. The Receiver shall seek the

   Court’s approval by filing a Motion for the reimbursement of expenses and compensation for

   time spent on the matters set forth herein.

           9.    The Receivership Entities and all persons receiving notice of this Order shall not

   hinder or interfere with the Receiver’s efforts to take control or possession of the Receivership

   Entities’ property interests identified above or hinder his efforts to preserve them.

                                       STAY OF LITIGATION

           “[W]hile it should be sparsely exercised, district courts possess the authority and

   discretion to enter anti-litigation orders” in the context of a Securities and Exchange Commission

   receivership. Sec. & Exch. Comm’n v. Byers, 609 F.3d 87, 89 (2d Cir. 2010); see also Sec. &

   Exch. Comm’n v. Onix Capital, LLC, No. 16-24678-CIV, 2017 WL 6728814, at *4 (S.D. Fla.

   Jul. 24, 2017) (“That the receivership is not ‘substantially underway’ is not a compelling factor

   to lift a stay against litigation when balanced against the Receiver’s interest in preventing

   ancillary litigation during the early stages of the receivership.”); Liberte Capital Grp., LLC v.

   Capwill, 462 F.3d 543, 551 (6th Cir. 2006) (“[T]he receivership court may issue a blanket

   injunction, staying litigation against the named receiver and the entities under his control unless

   leave of that court is first obtained.”).




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             As set forth below, the following proceedings—excluding the instant proceeding—and

   all law enforcement, police, or regulatory actions and actions of the Commission related to the

   above-captioned enforcement action, are hereby stayed until further Order of this Court:

             All civil legal proceedings of any nature, including, but not limited to, bankruptcy
             proceedings, arbitration proceedings, foreclosure actions, default proceedings, or any
             other actions of any nature involving: (a) the Receiver, in his capacity as Receiver; (b)
             any of the Receivership Entities’ property interests, wherever located; (c) any of the
             Receivership Entities, including subsidiaries and partnerships; or, (d) any of a
             Receivership Entity’s past or present officers, directors, managers, agents, or general or
             limited partners sued for, or in connection with, any action taken by them while acting
             in such capacity of any nature, whether as plaintiff, defendant, third-party plaintiff, third-
             party defendant, or otherwise (such proceedings are hereinafter referred to as “Ancillary
             Proceedings”).

            The parties to any and all Ancillary Proceedings are enjoined from commencing or

  continuing any such legal proceeding, or from taking any action, in connection with any such

  proceeding, including, but not limited to, the issuance or employment of process.

            All Ancillary Proceedings are stayed in their entirety, and all Courts having any jurisdiction

  thereof are enjoined from taking or permitting any action until further Order of this Court. Further,

  as to a cause of action accrued or accruing in favor of one or more of the Receivership Entities

  against a third person or party, any applicable statute of limitation is tolled during the period in

  which this injunction against commencement of legal proceedings is in effect as to that cause of

  action.

            DONE AND ORDERED in Fort Lauderdale, Florida, this 31st day of July, 2020.




                                                            _____________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record

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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

    SECURITIES AND EXCHANGE                                                UNDER SEAL
    COMMISSION,

           Plaintiff,

    v.

    COMPLETE BUSINESS SOLUTIONS
    GROUP, INC. d/b/a PAR FUNDING, et al.,

          Defendants.
    _______________________________/

                  ORDER GRANTING EMERGENCY EX PARTE MOTION
              FOR TEMPORARY RESTRAINING ORDER AND OTHER RELIEF

           THIS CAUSE comes before the Court upon Plaintiff’s Emergency Ex Parte Motion for

    Temporary Restraining Order and Other Relief [ECF No. 14] (“Motion”), filed on July 27, 2020.

    The Motion seeks the following relief with respect to Defendants Complete Business Solutions

    Group, Inc. d/b/a PAR Funding (“Par Funding”), Full Spectrum Processing, Inc. (“Full

    Spectrum”), ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”), ABFP

    Management Company, LLC f/k/a Pillar Life Settlement Management Company, LLC (“ABFP

    Management”), ABFP Income Fund, LLC (“ABFP Income Fund”), ABFP Income Fund 2, L.P.

    (“ABFP Income Fund 2”), United Fidelis Group Corp. (“United Fidelis”), Fidelis Financial

    Planning LLC (“Fidelis Financial”), Retirement Evolution Group, LLC (“Retirement Evolution”),

    Retirement Evolution Income Fund LLC, a/k/a RE Income Fund (“RE Income Fund”), RE Income

    Fund 2 LLC (“RE Income Fund 2”), Lisa McElhone (“McElhone”), Joseph Cole Barleta, a/k/a Joe

    Cole (“Cole”), Joseph W. LaForte, a/k/a Joe Mack, a/k/a Joe Macki, a/k/a Joe McElhone
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    (“LaForte”), Perry S. Abbonizio, Dean J. Vagnozzi, Michael C. Furman, and John Gissas, and

    Relief Defendant L.M.E. 2017 Family Trust (“L.M.E. Trust”):

           1. a Temporary Restraining Order;

           2. an Order to Show Cause Why a Preliminary Injunction Should Not be Granted;

           3. an Order Freezing the Assets of Defendants and Relief Defendant;

           4. an Order Requiring Sworn Accountings;

           5. an Order Prohibiting Destruction of Documents; and

           6. an Order Expediting Discovery.

           The Court has reviewed Plaintiff’s Complaint, the Motion, Plaintiff’s exhibits filed in

    support of the Motion, and the Response to Plaintiff’s Ex-Parte Motions for Appointment of a

    Receiver and for an Asset Freeze, submitted on July 28, 2020 by Defendants Par Funding, Full

    Spectrum, McElhone, Cole, LaForte, and L.M.E. Trust.

           The Court finds that Plaintiff has made a sufficient and proper showing in support of the

    relief granted herein by: (i) presenting a prima facie case of securities laws violations by

    Defendants; and (ii) showing a reasonable likelihood the Defendants will harm the investing public

    by continuing to violate the federal securities laws unless they are immediately restrained. The

    Court also finds good cause to believe that unless immediately enjoined by Order of this Court,

    the Defendants may dissipate, conceal or transfer from the jurisdiction of this Court assets which

    could be subject to an Order of Disgorgement. Accordingly, it is hereby

           ORDERED AND ADJUDGED that Plaintiff’s Motion [ECF No. 14] is GRANTED as

    follows:




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                                                       I.

            SHOW CAUSE HEARING AND TELEPHONIC STATUS CONFERENCE

           The Defendants shall show cause, if any, before the Court via a Zoom hearing on

    Tuesday, August 4, 2020 at 3:30 P.M., or as soon thereafter as the matter can be heard, why a

    Preliminary Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure should not be

    granted against Defendants, as requested by Plaintiff. In advance of the hearing, the Court will

    provide the parties with information on how to join via Zoom.

           Additionally, the Court will hold a telephonic status conference on Monday, August 3,

    2020 at 4:15 P.M. The parties are instructed to call 1-877-402-9753 by no later than 4:10 P.M.

    The access code is 9372453 and the password is 0918. The Court requires that the parties appear

    via a landline (i.e., not a cellular phone or a speaker phone) for clarity.

                                                      II.

                                TEMPORARY RESTRAINING ORDER

                                A. Section 17(a)(1) of the Securities Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman are preliminarily restrained and

    enjoined from violating Section 17(a)(1) of the Securities Act of 1933 (“Securities Act”), 15

    U.S.C. § 77q(a)(1), in the offer or sale of any security by the use of any means or instruments of

    transportation or communication in interstate commerce or by use of the mails, directly or

    indirectly: to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i)

    creating a false appearance or otherwise deceiving any person, or (ii) disseminating false or

    misleading documents, materials, or information or making, either orally or in writing, any false



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    or misleading statement in any communication with any investor or prospective investor, about:

    (A) any investment in securities; (B) the prospects for success of any product or company; (C) the

    use of investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state or federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                                B. Section 17(a)(2) of the Securities Act

           Pending further Order of the Court, all Defendants are preliminarily restrained and enjoined

    from violating Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2), in the offer or sale of

    any security by the use of any means or instruments of transportation or communication in

    interstate commerce or by use of the mails, directly or indirectly: to obtain money or property by

    means of any untrue statement of a material fact or any omission to state a material fact necessary

    in order to make the statements made, in light of the circumstances under which they were made,

    not misleading, by, directly or indirectly (i) creating a false appearance or otherwise deceiving any

    person, or (ii) disseminating false or misleading documents, materials, or information or making,

    either orally or in writing, any false or misleading statement in any communication with any



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    investor or prospective investor, about: (A) any investment in securities; (B) the prospects for

    success of any product or company; (C) the use of investor funds; (D) the safety of any securities

    investment; (E) the use of investor funds or investment proceeds; (F) Orders issued against the

    Defendants by state or federal enforcement agencies; (G) the financial status of Par Funding; or

    (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of the Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                                C. Section 17(a)(3) of the Securities Act

           Pending further Order of the Court, all Defendants are preliminarily restrained and enjoined

    from violating Section 17(a)(3) of the Securities Act, 15 U.S.C. § 77q(a)(3), in the offer or sale of

    any security by the use of any means or instruments of transportation or communication in

    interstate commerce or by use of the mails, directly or indirectly: to engage in any transaction,

    practice, or course of business which operates or would operate as a fraud or deceit upon the

    purchaser, by, directly or indirectly (i) creating a false appearance or otherwise deceiving any

    person, or (ii) disseminating false or misleading documents, materials, or information or making,

    either orally or in writing, any false or misleading statement in any communication with any

    investor or prospective investor, about: (A) any investment in securities; (B) the prospects for

    success of any product or company; (C) the use of investor funds; (D) the safety of any securities

    investment; (E) the use of investor funds or investment proceeds; (F) Orders issued against the




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    Defendants by state or federal enforcement agencies; (G) the financial status of Par Funding; or

    (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of the Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                     D.      Section 10(b) and Rule 10b-5(a) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman, and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby restrained and enjoined from violating

    Section 10(b) and Rule 10b-5(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15

    U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(a), by using any means or instrumentality of interstate

    commerce, or of the mails, or of any facility of any national securities exchange, in connection

    with the purchase or sale of any security, to employ any device, scheme, or artifice to defraud, by,

    directly or indirectly (i) creating a false appearance or otherwise deceiving any person, or (ii)

    disseminating false or misleading documents, materials, or information or making, either orally or

    in writing, any false or misleading statement in any communication with any investor or

    prospective investor, about: (A) any investment in securities; (B) the prospects for success of any

    product or company; (C) the use of investor funds; (D) the safety of any securities investment; (E)

    the use of investor funds or investment proceeds; (F) Orders issued against the Defendants by state




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    or federal enforcement agencies; (G) the financial status of Par Funding; or (H) the management

    of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                   E.      Section 10(b) and Rule 10b-5(b) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman, and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby restrained and enjoined from violating:

    Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(b), 17 C.F.R.

    § 240.10b-5(b), by using any means or instrumentality of interstate commerce, or of the mails, or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security, to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i) creating

    a false appearance or otherwise deceiving any person, or (ii) disseminating false or misleading

    documents, materials, or information or making, either orally or in writing, any false or misleading

    statement in any communication with any investor or prospective investor, about: (A) any



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    investment in securities; (B) the prospects for success of any product or company; (C) the use of

    investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state or federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                       F.      Section 10(b) and Ruleb-5(c) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman and their respective directors, officers,

    agents, servants, employees, attorneys, representatives and those persons in active concert or

    participation with them, and each of them, are hereby restrained and enjoined from violating

    Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(c), 17 C.F.R.

    § 240.10b-5(c), by using any means or instrumentality of interstate commerce, or of the mails, or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security, to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i) creating

    a false appearance or otherwise deceiving any person, or (ii) disseminating false or misleading



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    documents, materials, or information or making, either orally or in writing, any false or misleading

    statement in any communication with any investor or prospective investor, about: (A) any

    investment in securities; (B) the prospects for success of any product or company; (C) the use of

    investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state of federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                            G.     Sections 5(a) and 5(c) of the Securities Act

           Pending further Order of the Court, that all Defendants and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby enjoined from violating Sections 5(a) and

    5(c) of the Securities Act, 15 U.S.C. § 77e, by directly or indirectly, in the absence of any

    applicable exemption:

           (a)     Unless a registration statement is in effect as to a security, making use of any means

                   or instruments of transportation or communication in interstate commerce or of the




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                   mails to sell such security through the use or medium of any prospectus or

                   otherwise;

           (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                   be carried through the mails or in interstate commerce, by any means or instruments

                   of transportation, any such security for the purpose of sale or for delivery after sale;

                   or

           (c)     Making use of any means or instruments of transportation or communication in

                   interstate commerce or of the mails to offer to sell or offer to buy through the use

                   or medium of any prospectus or otherwise any security, unless a registration

                   statement has been filed with the Securities and Exchange Commission as to such

                   security, or while the registration statement is the subject of a refusal order or stop

                   order or (prior to the effective date of the registration statement) any public

                   proceeding or examination under Section 8 of the Securities Act, 15 U.S.C. § 77h.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                                                     III.

            ASSET FREEZE AS TO PAR FUNDING, MCELHONE, AND LAFORTE

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants Par Funding, McElhone, and LaForte and their respective directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, who receive notice of



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    this Order by personal service, mail, email, facsimile transmission or otherwise, hereby are

    restrained from, directly or indirectly, transferring, setting off, receiving, changing, selling,

    pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or property,

    including but not limited to cash, free credit balances, fully paid for securities, personal property,

    real property, and/or property pledged or hypothecated as collateral for loans, or charging upon or

    drawing from any lines of credit, owned by, controlled by, or in the possession of, whether jointly

    or singly, and wherever located, Par Funding, Lisa McElhone, and Joseph LaForte, a/k/a Joe Mack,

    a/k/a Joe Macki, a/k/a Joe McElhone.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Defendants Par Funding,

    McElhone, or LaForte, directly or indirectly, held jointly or singly, and wherever located, and

    which receives actual notice of this Order by personal service, mail, email, facsimile, or otherwise,

    shall hold and retain within its control and prohibit the withdrawal, removal, transfer, disposition,

    pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment, or other

    disposal of any such funds or other assets.

           This asset freeze is limited to the amount received from the securities fraud, which is

    estimated at this time to be $482,000,000.

                             ASSET FREEZE AS TO FULL SPECTRUM

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           Defendant Full Spectrum and its respective directors, officers, agents, servants, employees,

    attorneys, depositories, banks, and those persons in active concert or participation with any one or

    more of them, and each of them, who receive notice of this Order by personal service, mail, email,

    facsimile transmission or otherwise, hereby are restrained from, directly or indirectly, transferring,



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    setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing of,

    or withdrawing any assets or property of Par Funding, Full Spectrum, McElhone, or LaForte.

           This asset freeze is limited to the amount received from the securities fraud, which is

    estimated at this time to be $4,398,535.

                          ASSET FREEZE AS TO DEFENDANT ABFP,
                       ABFP INCOME FUND, AND ABFP INCOME FUND 2

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants ABFP, ABFP Income Fund, and ABFP Income Fund 2, and their

    respective directors, officers, agents, servants, employees, attorneys, depositories, banks, and those

    persons in active concert or participation with any one or more of them, and each of them, who

    receive notice of this Order by personal service, mail, email, facsimile transmission or otherwise,

    hereby are restrained from, directly or indirectly, transferring, setting off, receiving, changing,

    selling, pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or

    property, including but not limited to cash, free credit balances, fully paid for securities, personal

    property, real property, and/or property pledged or hypothecated as collateral for loans, or charging

    upon or drawing from any lines of credit, owned by, controlled by, or in the possession of, whether

    jointly or singly, and wherever located: ABFP, ABFP Income Fund, and ABFP Income Fund 2.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Defendants ABFP, ABFP

    Income Fund, and ABFP Income 2, directly or indirectly, held jointly or singly, and wherever

    located, and which receives actual notice of this Order by personal service, mail, email, facsimile,

    or otherwise, shall hold and retain within its control and prohibit the withdrawal, removal, transfer,

    disposition, pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment,

    or other disposal of any such funds or other assets.

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           C.      This asset freeze is limited to the amounts ABFP, ABFP Income Fund, and ABFP

    Income Fund 2 received from the securities fraud, which is estimated at this time to be:

    $25,487,690 as to ABFP Income Fund and ABFP, jointly and severally; $13,252,600 as to ABFP

    Income Fund 2 and ABFP, jointly and severally; and $1,914,045 as to ABFP independent of ABFP

    Income Fund and ABFP Income Fund 2.

    ASSET FREEZE AS TO DEFENDANTS UNITED FIDELIS AND FIDELIS FINANCIAL

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants United Fidelis and Fidelis Financial, and their respective directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, who receive notice of

    this Order by personal service, mail, email, facsimile transmission or otherwise hereby are,

    restrained from, directly or indirectly, transferring, setting off, receiving, changing, selling,

    pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or property,

    including but not limited to cash, free credit balances, fully paid for securities, personal property,

    real property, and/or property pledged or hypothecated as collateral for loans, or charging upon or

    drawing from any lines of credit, owned by, controlled by, or in the possession of, whether jointly

    or singly, and wherever located: United Fidelis and Fidelis Financial.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of United Fidelis and Fidelis

    Financial, directly or indirectly, held jointly or singly, and wherever located, and which receives

    actual notice of this Order by personal service, mail, email, facsimile, or otherwise, shall hold and

    retain within its control and prohibit the withdrawal, removal, transfer, disposition, pledge,




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    encumbrance, assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of

    any such funds or other assets.

           C.      This asset freeze is limited to the amounts United Fidelis and Fidelis Financial

    received from the fraud, which is estimated at this time to be: $11,603,000, jointly and severally.

              ASSET FREEZE AS TO DEFENDANTS RETIREMENT EVOLUTION,
                      RE INCOME FUND, AND RE INCOME FUND 2

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants Retirement Evolution, RE Income Fund, and RE Income Fund 2, and

    their respective directors, officers, agents, servants, employees, attorneys, depositories, banks, and

    those persons in active concert or participation with any one or more of them, and each of them,

    who receive notice of this Order by personal service, mail, email, facsimile transmission or

    otherwise, hereby are restrained from, directly or indirectly, transferring, setting off, receiving,

    changing, selling, pledging, assigning, liquidating or otherwise disposing of, or withdrawing any

    assets or property, including but not limited to cash, free credit balances, fully paid for securities,

    personal property, real property, and/or property pledged or hypothecated as collateral for loans,

    or charging upon or drawing from any lines of credit, owned by, controlled by, or in the possession

    of, whether jointly or singly, and wherever located: Retirement Evolution, RE Income Fund, and

    RE Income Fund 2.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Retirement Evolution, RE

    Income Fund, and RE Income Fund 2, directly or indirectly, held jointly or singly, and wherever

    located, and which receives actual notice of this Order by personal service, mail, email, facsimile,

    or otherwise, shall hold and retain within its control and prohibit the withdrawal, removal, transfer,




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    disposition, pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment,

    or other disposal of any such funds or other assets.

            C.        This asset freeze is limited to the amounts Retirement Evolution, RE Income Fund,

    and RE Income Fund 2 received from the fraud, which is estimated at this time to be: $6.5 million

    as to Retirement Evolution; $5,450,000 as to RE Income Fund; and $150,000 as to RE Income

    Fund 2.

                              ASSET FREEZE AS TO DEFENDANT COLE

            Pending determination of Plaintiff’s request for a Preliminary Injunction:

            A.        Defendant Cole and his respective directors, officers, agents, servants, employees,

    attorneys, depositories, banks, and those persons in active concert or participation with any one or

    more of them, and each of them, who receive notice of this Order by personal service, mail, email,

    facsimile transmission or otherwise, hereby are restrained from, directly or indirectly, transferring,

    setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing of,

    or withdrawing any assets or property, including but not limited to cash, free credit balances, fully

    paid for securities, personal property, real property, and/or property pledged or hypothecated as

    collateral for loans, or charging upon or drawing from any lines of credit, owned by, controlled

    by, or in the possession of, whether jointly or singly, and wherever located: Joseph Cole Barleta,

    a/k/a Joe Cole.

            B.        Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Cole, directly or indirectly,

    held jointly or singly, and wherever located, and which receives actual notice of this Order by

    personal service, mail, email, facsimile, or otherwise, shall hold and retain within its control and




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    prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance, assignment, set off,

    sale, liquidation, dissipation, concealment, or other disposal of any such funds or other assets.

            C.         This asset freeze is limited to the amount Cole received from the fraud, which is

    estimated at this time to be $16,159,000.

                          ASSET FREEZE AS TO L.M.E. 2017 FAMILY TRUST

            Pending determination of Plaintiff’s request for a Preliminary Injunction:

            A.         Relief Defendant L.M.E. 2017 Family Trust and its respective directors, officers,

    agents, servants, employees, attorneys, depositories, banks, and those persons in active concert or

    participation with any one or more of them, and each of them, who receive notice of this Order by

    personal service, mail, email, facsimile transmission or otherwise, hereby are restrained from,

    directly or indirectly, transferring, setting off, receiving, changing, selling, pledging, assigning,

    liquidating or otherwise disposing of, or withdrawing any assets or property, including but not

    limited to cash, free credit balances, fully paid for securities, personal property, real property,

    and/or property pledged or hypothecated as collateral for loans, or charging upon or drawing from

    any lines of credit, owned by, controlled by, or in the possession of, whether jointly or singly, and

    wherever located: The L.M.E. 2017 Family Trust.

            B.         Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of the L.M.E. 2017 Family

    Trust, directly or indirectly, held jointly or singly, and wherever located, and which receives actual

    notice of this Order by personal service, mail, email, facsimile, or otherwise, shall hold and retain

    within its control and prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance,

    assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of any such funds

    or other assets.



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           C.        This asset freeze is limited to the amount the L.M.E. 2017 Family Trust received

    from the fraud, which is estimated at this time to be $14.3 million.

                                                      IV.

                                         SWORN ACCOUNTINGS

                     Accounting and Identification of Accounts by Each Defendant

           Within five calendar days of the issuance of this Order, each Defendant, separately, shall:

               (a)   make a sworn accounting to this Court and the Plaintiff of all funds, whether in the

    form of compensation, commissions, income (including payments for assets, shares or property of

    any kind), and other benefits (including the provision of services of a personal or mixed business

    and personal nature) received, directly or indirectly, by the Defendant making the sworn

    accounting;

           (b)       make a sworn accounting to this Court and the Plaintiff of all assets, funds, or other

    properties, whether real or personal, held by the Defendant making the sworn accounting, jointly

    or individually, or for its direct or indirect beneficial interest, or over which it maintains control,

    wherever situated, stating the location, value, and disposition of each such asset, fund, and other

    property; and

           (c)       provide to the Court and the Plaintiff a sworn identification of all accounts

    (including, but not limited to, bank accounts, savings accounts, securities accounts and deposits of

    any kind and wherever situated) in which the Defendant making the sworn accounting (whether

    solely or jointly), directly or indirectly (including through a corporation, partnership, relative,

    friend or nominee), either has an interest or over which he has the power or right to exercise

    control.




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                                                      V.

                                      RECORDS PRESERVATION

           Pending determination of the Plaintiff’s request for a Preliminary Injunction, all Defendants

    and the Relief Defendant, their directors, officers, agents, servants, employees, attorneys,

    depositories, banks, and those persons in active concert or participation with any one or more of

    them, and each of them, hereby are restrained and enjoined from, directly or indirectly, destroying,

    mutilating, concealing, altering, disposing of, or otherwise rendering illegible in any manner, any

    of the books, records, documents, correspondence, brochures, manuals, papers, ledgers, accounts,

    statements, obligations, files and other property of or pertaining to any and all Defendants and the

    Relief Defendant, wherever located and in whatever form, electronic or otherwise, until further

    Order of this Court.

                                                     VI.

                                       EXPEDITED DISCOVERY

           (a)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties may take depositions upon oral examination of

    parties and non-parties subject to two days’ notice. Should any Defendant fail to appear for a

    properly noticed deposition, that party may be prohibited from introducing evidence at the hearing

    on the Plaintiff’s request for a preliminary injunction;

           (b)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties shall be entitled to serve interrogatories, requests for

    the production of documents and requests for admissions. The parties shall respond to such

    discovery requests within two days of service;




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           (c)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties may issue subpoenas for documents, things and

    electronically stored information to non-parties pursuant to Fed. R. Civ. P. 45, with responses due

    within one week of the date of service;

           (d)     All responses to the Plaintiff’s discovery requests shall be delivered to Amie Riggle

    Berlin, Esq. at 801 Brickell Avenue, Suite 1950, Miami, Florida 33131 by the most expeditious

    means available; and

           (e)     Service of discovery requests shall be sufficient if made upon the parties by email,

    facsimile, or overnight courier, and depositions may be taken by telephone or other remote

    electronic means.

                                                    VII.

                                   RETENTION OF JURISDICTION

           This Court shall retain jurisdiction over this matter and Defendants and Relief Defendants

    in order to implement and carry out the terms of all Orders and Decrees that may be entered and/or

    to entertain any suitable application or motion for additional relief within the jurisdiction of this

    Court, and will order other relief that this Court deems appropriate under the circumstances.



           DONE AND ORDERED in Fort Lauderdale, Florida, this 28th day of July, 2020.




                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE


    Copies to: Counsel of Record



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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.: 9:20-cv-81205-RAR

  SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS GROUP,
    INC. d/b/a/ PAR FUNDING, et al.,

                          Defendants.
  ____________________________________________/

               SPECIALLY APPEARING DEFENDANT DEAN VAGNOZZI'S
              RESPONSE TO SECURITIES AND EXCHANGE COMMISSION’S
                        FIRST REQUEST FOR PRODUCTION

         Specially Appearing Defendant DEAN VAGNOZZI (hereinafter “Defendant”), by and

  through his undersigned counsel, hereby responds to Plaintiff SECURITIES AND EXCHANGE

  COMMISSIONS’S (“Plaintiff”) First Request for Production (the “Request”) as follows:

                         GENERAL STATEMENT AND OBJECTIONS

         1.      Defendant objects to the Request for lack of due process under the United States

  Constitution. The Court has imposed a two-calendar day response deadline without having

  provided Defendant any notice or opportunity to contest expedited discovery. This violates the

  Federal Rules of Civil Procedure and the United States Constitution. Defendant has not had

  adequate time to investigate his responses to the Request, which violates his Constitutional rights.

  Moreover, Defendant's counsel only appeared in this action the day prior to service of the Request,

  and has not had adequate time to investigate the allegations and the Request in order to properly

  advise Defendant on his responses, which further violates Defendant's Constitutional rights. To
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  the extent these Request are attempted to be used in any criminal prosecution, the circumstances

  of the Request further deny Defendant his right to effective assistance of counsel under the United

  States Constitution.

         2.      In responding to this Request, Defendant does not concede the information

  requested is relevant to the subject matter of this litigation or reasonably calculated to lead to the

  discovery of admissible evidence. Any response, in whole or in part, to the request is not intended

  to be, and should not be construed as, a waiver by Defendant of all or any part of any objection.

  Defendant reserves the right to object, and hereby gives notice of its intent to object, to the

  admissibility into any information disclosed herein.

         3.      Defendant objects to the Request to the extent that it seeks to impose obligations

  that exceed, or are different from, those imposed by the Federal Rules of Civil Procedure and the

  Local Rules of the United States District Court for the Southern District of Florida.

         4.      Defendant objects to the Request to the extent it calls for the disclosure of

  information that is not in Defendant's possession, custody, or control, or that is not ascertainable

  after a reasonably diligent search. In responding, Defendant does not certify that “any,” (as that

  term is used in the Requests) item(s) of responsive information has or have been identified or

  located, and Defendant reserves the right to supplement its responses as more information is

  available.

         5.      Defendant objects to the Request to the extent it seeks information that is not

  relevant to the issues in the pending action or reasonably calculated to lead to the discovery of

  admissible evidence supporting the claims in this proceeding.

         6.      Defendant objects to the Request to the extent it is, in whole or part, vague or

  ambiguous, duplicative, harassing, overbroad, or unduly burdensome, not restricted by time or



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  subject matter, in that the burdens imposed by responding to the Request clearly outweighs any

  potential value to Plaintiff of the response.

          7.      Defendant objects to the Request to the extent it seeks information that is subject

  to the attorney-client privilege, the attorney work product immunity doctrine, or any other

  applicable privilege or doctrine. Any inadvertent disclosure of such information shall not be

  deemed a waiver of the attorney-client privilege, the attorney work product immunity doctrine, or

  any other applicable privilege or doctrine.

          8.      Defendant objects to the Request to the extent it seeks information constituting

  trade secrets or other financial, strategic, confidential, proprietary, or otherwise highly sensitive

  commercial or personal information without protective measures necessary to prevent disclosure.

          9.      No incidental or implied admissions are intended by the, or shall be inferred from,

  response to the Request. That Defendant has responded to any Request is not intended to be, and

  shall not be construed as, a waiver by Defendant of any part of any General or specific objection.

  Nor shall such a response be construed as a waiver of any argument, whether or not as of yet

  asserted, in support of judgment in favor of Defendant.

          10.     Defendant objects to the Request insofar as it contains misstatements of fact and

  inaccurate assumptions. Nothing in the response shall be construed as constituting or implying an

  admission of any allegation or agreement with any assertion or characterization in the Request.

          11.     Defendant objects to the Request to the extent it seek documents that would require

  the production of documents that include private consumer, banking, and financial information

  protected by various state and federal privacy laws.

          12.     Defendant incorporates each of these General Objections into the specific response

  below as if fully set forth therein.



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         13.     Without waiver of any of the foregoing general objections, Defendant responds and

  specifically objects to Plaintiff’s Production Request as follows:

                 RESPONSE AND OBJECTION TO INDIVIDUAL REQUEST


         1.      All Bank Records from July 1, 2015 through the present for any bank account you

  have owned, controlled, and/or been a signatory for.

         Response:       Defendant objects to this Request on the grounds that the Request is

         overbroad, ambiguous, and not limited to the timeframe of the Complaint nor

         Securities and Exchange Commission’s Emergency Ex Parte Motion for Temporary

         Restraining Order and Other Relief. Particularly, this Request is irrelevant and

         disproportionate for purposes of the August 4, 2020 Preliminary Injunction Hearing.

         This Request also seeks a voluminous quantity of documents, which are irrelevant

         and disproportionate to the claims or defenses of this action. Rule 34 permits

         discovery of "designated documents or electronically stored information . . . or . . .

         designated tangible things." Fed. R. Civ. P. 34(a)(1). The rule does not permit a

         general inspection of an adversary's records as it constitutes nothing more than a

         fishing expedition for irrelevant information. Defendant further objects to this

         Request to the extent that it seeks documents that are not in the Defendant’s

         possession, custody, or control. Currently, bank records that would be necessary to

         respond to this Request are subject to the Court's receivership. Defendant has no

         access to his office in order to retrieve the information as a result of the Court's

         receivership. Specifically, the Receiver’s letter to Defendant, attached hereto as

         “Exhibit A”, directs Defendant to: (1)“[r]efrain from attempting to access the

         premises of ABetterFinancialPlan.com”; (2) “Immediately turn over to me any and


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        all objects, assets or documents, including, but not limited to, any devices, writings,

        client or investor files and documents, ESI, invoices, and bank records pertaining to

        ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

        Entities that are within your possession”; (3) refrain from accessing “bank accounts,

        email accounts, or other electronic media pertaining to ABetterFinancialPlan.com

        d/b/a A Better Financial Plan, or any other Receivership Entities”; and (4) refrain

        from “directly or indirectly taking any action, or causing any action to be taken,

        without the express written agreement of the Receiver that interferes with or hinders

        the Receiver’s efforts to take control, possession, or management of any accounts

        belonging to the Receivership Entities.” Lastly, Defendant generally objects to this

        Request for the reason it imposes a burden and expense on Defendant which

        outweighs any potential benefit.

        Dated: August 3, 2020

                                            AKERMAN LLP
                                            Three Brickell City Centre, Suite 1100
                                            98 Southeast Seventh Street
                                            Miami, Florida 33131
                                            Telephone: (305) 374-5600
                                            Facsimile: (305) 374-5095

                                            By: /s/ Brian P. Miller
                                               Brian P. Miller, Esq.
                                               Florida Bar No. 980633
                                               E-mail: brian.miller@akerman.com
                                               E-mail: Kelly.connolly@akerman.com
                                               Alejandro J. Paz, Esq.
                                               Florida Bar No. 1011728
                                               E-mail: Alejandro.paz@akerman.com
                                               Secondary: marylin.herrera@akerman.com

                                                Attorneys for Dean Vagnozzi




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Specially appearing

  Defendant Dean Vagnozzi's Response to Securities and Exchange Commission’s First Request for

  Production was served electronically this 3rd day of August, 2020 to:


   Amie Riggle Berlin                                Daniel Fridman
   Securities and Exchange Commission                Fridman Fels & Soto, PLLC
   801 Brickell Avenue, Suite 1800                   2525 Ponce de Leon Blvd., Suite 750
   Miami, FL 33131                                   Coral Gables, FL 33134
   Direct: 305-982-6322                              Tel: 305-569-7720
   Tel: 305-982-6300                                 Fax: 786-627-4145
   Fax: 305-536-4154                                 Email: dfridman@ffslawfirm.com
   Email: berlina@sec.gov                            Secondary: ypantin@ffslawfirm.com

   Attorney for Plaintiff                            James R. Froccaro, Jr.
                                                     20 Vanderventer Avenue, Suite 103W
                                                     Port Washington, NY 11050
                                                     Tel: 516-944-5062
                                                     Email: jrfresq61@aol.com

                                                     Attorneys for Defendant Joseph W. LaForte

   Joseph A. DeMaria                                 Ryan K. Stumphauzer
   Robert F. Elgidely                                Timothy A. Kolaya
   Fox Rothschild LLP                                Adam M. Foslid
   One Biscayne Tower, Suite 2750                    Stumphauzer Foslid Sloman Ross & Kolaya,
   2 South Biscayne Blvd.                            PLLC
   Miami, FL 33131                                   Two South Biscayne Blvd., Suite 1600
   Tel: 305-442-6547                                 Miami, FL 33131
   Email: JDeMaria@FoxRothschild.com                 Tel: 305-614-1400
   Email: Relgidely@FoxRothschild.com                Fax: 305-614-1425
   Secondary: mmiller-                               Email: afoslid@sfslaw.com
   hayle@foxrothschild.com                           Email: tkolaya@sfslaw.com
                                                     Email: afoslid@sfslaw.com
   Alex L. Braunstein
   Fox Rothschild LLP                                Attorneys for Receiver, Ryan K. Stumphauzer,
   777 S. Flagler Drive, Suite 1700 West Tower       court-appointed receiver over Defendants
   West Palm Beach, FL 33401                         Complete Business Solutions Group, Inc. d/b/a
   Tel: 561-804-4497                                 Par Funding; Full Spectrum Processing, Inc.;
   Email: ABraunstein@FoxRothschild.com              ABetterFinancialPlan.com LLC d/b/a A Better
                                                     Financial Plan; ABFP Management Company,
                                                     LLC f/k/a Pillar Life Settlement Management

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   Attorneys for Complete Business Solutions        Company, LLC; ABFP Income Fund LLC;
   Group, Inc., d/b/a Par Funding, Full             ABFP Income Fund 2, L.P.; United Fidelis
   Spectrum Processing, Inc., Lisa McElhone,        Group Corp.,; Fidelis Financial Planning
   Joseph Cole Barleta and Joseph W. LaForte        LLC; Retirement Evolution Group, LLC; RE
   and relief defendant L.M.E. 2017 Family          Income Fund LLC; and RE Income Fund 2
   Trust                                            LLC

   Joel Hirschhorn                                  Gaetan J. Alfano
   GrayRobinson, P.A.                               Doulgas K. Rosenblum
   333 SE 2nd Avenue, Suite 3200                    Pietragallo Godon Alfano Bosick & Raspanti,
   Miami, FL 33131                                  LLP
   Tel: 305-416-6880                                1818 Market Street, Suite 3402
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   Email: joel.hirschhorn@gray-robinson.com         Tel: 215-320-6200
                                                    Email: GJA@pietragallo.com
   Attorneys for Relief Defendant L.M.E. 2017       Email: DKR@pietragallo.com
   Family Trust
                                                    Attorney for Receiver, Ryan K. Stumphauzer

   Daniel I. Small                                  Jeff Marcus
   Allison Kernisky                                 Daniel L. Rashbaum
   Holland & Knight LLP                             Jason L. Mays
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   Miami, FL 33131                                  2 South Biscayne Blvd., Suite 1750
   Tel: 305-374-8500                                Miami, FL 33131
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   Email: Allison.Kernisky@hklaw.com                Email: drashbaum@mnrlawfirm.com
                                                    Email: jmays@mnrlawfirm.com
   Attorneys for John Gissas, Retirement
   Evolution Group, LLC, Retirement Evolution       Attorneys for Defendant Perry S. Abbonizio
   Income Fund, LLC f/k/a RE Income Fund
   LLC and RE Income Fund 2, LLC

   Jeffrey L. Cox
   Sallah Astarita & Cox, LLC
   3100 N. Military Trail, Suite 210
   Boca Raton, FL 33431
   Tel: 561-989-9080
   Fax: 561-989-9020
   Email: jcox@sallahlaw.com

   Attorneys for Defendant Michael C. Furman
                                                      /s/ Brian P. Miller
                                                      Attorney


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         Ryan K. Stumphauzer
         Telephone: 305. 614. 1400
         rstumphauzer@sfslaw.com

                                                                                                        July 31, 2020
           VIA EMAIL AND FEDERAL EXPRESS

           Dean J. Vagnozzi
           c/o Brian Miller, Esq.
           Akerman LLP
           Three Brickell City Centre
           98 Southeast Seventh Street
           Suite 1100
           Miami, FL 33131
           brian.miller@akerman.com


                        Re:          SEC v. CBSG., et al, No. 20-CIV-81205 (S.D. Fla.)

           Dear Mr. Vagnozzi,

                   In light of a preliminary injunction entered on July 28, 2020 by the Honorable Rodolfo A.
           Ruiz in the United States District Court for the Southern District of Florida, I am writing this letter
           to direct you to preserve all documents, assets and electronically-stored information (ESI) relating
           to ABetterFinancialPlan.com d/b/a A Better Financial Plan.

                   On July 27, 2020, Judge Ruiz appointed me as Receiver in the above-referenced case. I
           am enclosing with this letter a copy of the Order Granting Plaintiff Securities and Exchange
           Commission’s Motion for Appointment of Receiver (“the Receivership Order”), along with a copy
           of the Order Granting Emergency Ex Parte Motion for Temporary Restraining Order and Other
           Relief (the “Order Granting TRO”), which was entered on July 28, 2020.

                   The Receiver appointment relates to the following entities: Complete Business Solutions
           Group, Inc. d/b/a Par Funding, Full Spectrum Processing, Inc., ABetterFinancialPlan.com LLC
           d/b/a A Better Financial Plan, ABFP Management Company, LLC f/k/a Pillar Life Settlement
           Management Company, LLC, ABFP Income Fund, LLC, ABFP Income Fund 2, L.P., United
           Fidelis Group Corp., Fidelis Financial Planning LLC, Retirement Evolution Group, LLC, RE
           Income Fund LLC, and RE Income Fund 2 LLC (the “Receivership Entities”).

                   Pursuant to the Receivership Order, the Receiver has been directed by the United States
           District Court for the Southern District of Florida to take possession of and safeguard all property
           and assets of the Receivership entities, including all ESI and accounts, immediately upon the Court
           granting a temporary restraining order.

                  I understand that you are affiliated with ABetterFinancialPlan.com d/b/a A Better Financial
           Plan. Accordingly, I am writing to direct you to:



TWO S. BISCAYNE BOULEVARD, SUITE 2550 | MIAMI, FL 33131 | T + 1 305. 614. 1400 | F + 1 305. 614. 1425
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  _______________________________________


             •   Refrain from attempting to access the premises of ABetterFinancialPlan.com d/b/a
                 A Better Financial Plan, located at 234 Mall Blvd, Suite 270 King of Prussia, PA
                 19406-2940;

             •   Immediately turn over to me any and all objects, assets or documents, including,
                 but not limited to, any devices, writings, client or investor files and documents, ESI,
                 invoices, and bank records pertaining to ABetterFinancialPlan.com d/b/a A Better
                 Financial Plan, or any other Receivership Entities that are within your possession;

             •   Do not destroy or tamper with any objects, assets or documents, including, but not
                 limited to, any devices, writings, client or investor files and documents, ESI,
                 invoices or bank records relating to ABetterFinancialPlan.com d/b/a A Better
                 Financial Plan, or any other Receivership Entities; and

             •   Do not access any bank accounts, email accounts, or other electronic media
                 pertaining to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other
                 Receivership Entities.

          Please be advised that pursuant to the Receivership Order you are hereby restrained and
  enjoined from directly or indirectly taking any action, or causing any action to be taken, without
  the express written agreement of the Receiver that interferes with or hinders the Receiver’s efforts
  to take control, possession, or management of any accounts belonging to the Receivership Entities.
  Please contact me at rstumphauzer@sfslaw.com if you have any questions or concerns.

                                                                Sincerely,


                                                                ___________________________
                                                                Ryan K. Stumphauzer, Esq.


  Enclosures: Receivership Order, Order Granting TRO
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

  SECURITIES AND EXCHANGE
  COMMISSION,

         Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS
  GROUP, INC. d/b/a PAR FUNDING, et al.,

        Defendants.
  _______________________________/

       ORDER GRANTING PLAINTIFF’S URGENT MOTION TO AMEND ORDER
         APPOINTING RECEIVER TO INCLUDE LITIGATION INJUNCTION

         THIS CAUSE comes before the Court upon Plaintiff Securities and Exchange

  Commission’s (“Commission”) Urgent Motion to Amend Order Appointing Receiver to Include

  Litigation Injunction [ECF No. 48] (“Motion”), filed on July 31, 2020. In the Motion, Plaintiff

  seeks to amend the Court’s Order Granting Plaintiff Securities and Exchange Commission’s

  Motion for Appointment of Receiver [ECF No. 36] (“Order Appointing Receiver”), entered on

  July 27, 2020.

         Specifically, Plaintiff seeks to amend the Order Appointing Receiver to include a litigation

  injunction in all cases and proceedings to which the following entities are a party: Complete

  Business Solutions Group, Inc. d/b/a Par Funding (“Par Funding”), Full Spectrum Processing, Inc.,

  ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”), ABFP Management

  Company, LLC f/k/a Pillar Life Settlement Management Company, LLC (“ABFP Management”),

  ABFP Income Fund, LLC, ABFP Income Fund 2, L.P., United Fidelis Group Corp., Fidelis

  Financial Planning LLC, Retirement Evolution Group, LLC, RE Income Fund LLC, and RE


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  Income Fund 2 LLC (collectively, the “Receivership Entities”). The Receiver agrees with and

  joins in the request for this relief. For the reasons set forth in the Motion, it is hereby

           ORDERED AND ADJUDGED that Plaintiff Securities and Exchange Commission’s

   Motion to Amend Order Appointing Receiver to Include Litigation Injunction [ECF No. 48] is

   GRANTED.

           The Receiver, Ryan Stumphauzer, is authorized, empowered, and directed as follows

   until further Order of the Court:

           1.     To take custody, control, and possession of all Receivership Entity records,

   documents, and materials, and to safeguard these items until further Order of the Court;

           2.     To secure and safeguard the Receivership Entities’ information technology, data,

   documents, storage systems, and documents, including by making contact with any third-party

   vendors, such as movers and information technology personnel, to assist in this process;

           3.     To engage and employ persons in his discretion to assist him in carrying out his

   duties and responsibilities hereunder, including, but not limited to, accountants, lawyers, and

   paralegals (“Retained Personnel”);

           4.     To take any other action as necessary and appropriate for the preservation of the

   Receivership Entities’ property interests or to prevent the dissipation or concealment of such

   property interests; and

           5.     To take such other action as may be approved by this Court.

           6.     Additionally, the Receiver shall promptly give notice of his appointment to all

   known officers, directors, agents, employees, shareholders, creditors, debtors, managers, and

   general and limited partners of each Receivership Entity, as the Receiver deems necessary or

   advisable to effectuate the operation of the receivership.



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           7.    In furtherance of his responsibilities in this matter, the Receiver is authorized to

   communicate with, and/or serve this Order upon, any person, entity or government office that he

   deems appropriate to inform them of the status of this matter and the Receiver’s appointment.

           8.    The Receiver and Retained Personnel are entitled to reasonable compensation and

   expense reimbursement from the Receivership Entities’ estates. The Receiver shall seek the

   Court’s approval by filing a Motion for the reimbursement of expenses and compensation for

   time spent on the matters set forth herein.

           9.    The Receivership Entities and all persons receiving notice of this Order shall not

   hinder or interfere with the Receiver’s efforts to take control or possession of the Receivership

   Entities’ property interests identified above or hinder his efforts to preserve them.

                                       STAY OF LITIGATION

           “[W]hile it should be sparsely exercised, district courts possess the authority and

   discretion to enter anti-litigation orders” in the context of a Securities and Exchange Commission

   receivership. Sec. & Exch. Comm’n v. Byers, 609 F.3d 87, 89 (2d Cir. 2010); see also Sec. &

   Exch. Comm’n v. Onix Capital, LLC, No. 16-24678-CIV, 2017 WL 6728814, at *4 (S.D. Fla.

   Jul. 24, 2017) (“That the receivership is not ‘substantially underway’ is not a compelling factor

   to lift a stay against litigation when balanced against the Receiver’s interest in preventing

   ancillary litigation during the early stages of the receivership.”); Liberte Capital Grp., LLC v.

   Capwill, 462 F.3d 543, 551 (6th Cir. 2006) (“[T]he receivership court may issue a blanket

   injunction, staying litigation against the named receiver and the entities under his control unless

   leave of that court is first obtained.”).




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             As set forth below, the following proceedings—excluding the instant proceeding—and

   all law enforcement, police, or regulatory actions and actions of the Commission related to the

   above-captioned enforcement action, are hereby stayed until further Order of this Court:

             All civil legal proceedings of any nature, including, but not limited to, bankruptcy
             proceedings, arbitration proceedings, foreclosure actions, default proceedings, or any
             other actions of any nature involving: (a) the Receiver, in his capacity as Receiver; (b)
             any of the Receivership Entities’ property interests, wherever located; (c) any of the
             Receivership Entities, including subsidiaries and partnerships; or, (d) any of a
             Receivership Entity’s past or present officers, directors, managers, agents, or general or
             limited partners sued for, or in connection with, any action taken by them while acting
             in such capacity of any nature, whether as plaintiff, defendant, third-party plaintiff, third-
             party defendant, or otherwise (such proceedings are hereinafter referred to as “Ancillary
             Proceedings”).

            The parties to any and all Ancillary Proceedings are enjoined from commencing or

  continuing any such legal proceeding, or from taking any action, in connection with any such

  proceeding, including, but not limited to, the issuance or employment of process.

            All Ancillary Proceedings are stayed in their entirety, and all Courts having any jurisdiction

  thereof are enjoined from taking or permitting any action until further Order of this Court. Further,

  as to a cause of action accrued or accruing in favor of one or more of the Receivership Entities

  against a third person or party, any applicable statute of limitation is tolled during the period in

  which this injunction against commencement of legal proceedings is in effect as to that cause of

  action.

            DONE AND ORDERED in Fort Lauderdale, Florida, this 31st day of July, 2020.




                                                            _____________________________
                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE
  Copies to: Counsel of Record

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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

    SECURITIES AND EXCHANGE                                                UNDER SEAL
    COMMISSION,

           Plaintiff,

    v.

    COMPLETE BUSINESS SOLUTIONS
    GROUP, INC. d/b/a PAR FUNDING, et al.,

          Defendants.
    _______________________________/

                  ORDER GRANTING EMERGENCY EX PARTE MOTION
              FOR TEMPORARY RESTRAINING ORDER AND OTHER RELIEF

           THIS CAUSE comes before the Court upon Plaintiff’s Emergency Ex Parte Motion for

    Temporary Restraining Order and Other Relief [ECF No. 14] (“Motion”), filed on July 27, 2020.

    The Motion seeks the following relief with respect to Defendants Complete Business Solutions

    Group, Inc. d/b/a PAR Funding (“Par Funding”), Full Spectrum Processing, Inc. (“Full

    Spectrum”), ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”), ABFP

    Management Company, LLC f/k/a Pillar Life Settlement Management Company, LLC (“ABFP

    Management”), ABFP Income Fund, LLC (“ABFP Income Fund”), ABFP Income Fund 2, L.P.

    (“ABFP Income Fund 2”), United Fidelis Group Corp. (“United Fidelis”), Fidelis Financial

    Planning LLC (“Fidelis Financial”), Retirement Evolution Group, LLC (“Retirement Evolution”),

    Retirement Evolution Income Fund LLC, a/k/a RE Income Fund (“RE Income Fund”), RE Income

    Fund 2 LLC (“RE Income Fund 2”), Lisa McElhone (“McElhone”), Joseph Cole Barleta, a/k/a Joe

    Cole (“Cole”), Joseph W. LaForte, a/k/a Joe Mack, a/k/a Joe Macki, a/k/a Joe McElhone
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    (“LaForte”), Perry S. Abbonizio, Dean J. Vagnozzi, Michael C. Furman, and John Gissas, and

    Relief Defendant L.M.E. 2017 Family Trust (“L.M.E. Trust”):

           1. a Temporary Restraining Order;

           2. an Order to Show Cause Why a Preliminary Injunction Should Not be Granted;

           3. an Order Freezing the Assets of Defendants and Relief Defendant;

           4. an Order Requiring Sworn Accountings;

           5. an Order Prohibiting Destruction of Documents; and

           6. an Order Expediting Discovery.

           The Court has reviewed Plaintiff’s Complaint, the Motion, Plaintiff’s exhibits filed in

    support of the Motion, and the Response to Plaintiff’s Ex-Parte Motions for Appointment of a

    Receiver and for an Asset Freeze, submitted on July 28, 2020 by Defendants Par Funding, Full

    Spectrum, McElhone, Cole, LaForte, and L.M.E. Trust.

           The Court finds that Plaintiff has made a sufficient and proper showing in support of the

    relief granted herein by: (i) presenting a prima facie case of securities laws violations by

    Defendants; and (ii) showing a reasonable likelihood the Defendants will harm the investing public

    by continuing to violate the federal securities laws unless they are immediately restrained. The

    Court also finds good cause to believe that unless immediately enjoined by Order of this Court,

    the Defendants may dissipate, conceal or transfer from the jurisdiction of this Court assets which

    could be subject to an Order of Disgorgement. Accordingly, it is hereby

           ORDERED AND ADJUDGED that Plaintiff’s Motion [ECF No. 14] is GRANTED as

    follows:




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                                                       I.

            SHOW CAUSE HEARING AND TELEPHONIC STATUS CONFERENCE

           The Defendants shall show cause, if any, before the Court via a Zoom hearing on

    Tuesday, August 4, 2020 at 3:30 P.M., or as soon thereafter as the matter can be heard, why a

    Preliminary Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure should not be

    granted against Defendants, as requested by Plaintiff. In advance of the hearing, the Court will

    provide the parties with information on how to join via Zoom.

           Additionally, the Court will hold a telephonic status conference on Monday, August 3,

    2020 at 4:15 P.M. The parties are instructed to call 1-877-402-9753 by no later than 4:10 P.M.

    The access code is 9372453 and the password is 0918. The Court requires that the parties appear

    via a landline (i.e., not a cellular phone or a speaker phone) for clarity.

                                                      II.

                                TEMPORARY RESTRAINING ORDER

                                A. Section 17(a)(1) of the Securities Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman are preliminarily restrained and

    enjoined from violating Section 17(a)(1) of the Securities Act of 1933 (“Securities Act”), 15

    U.S.C. § 77q(a)(1), in the offer or sale of any security by the use of any means or instruments of

    transportation or communication in interstate commerce or by use of the mails, directly or

    indirectly: to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i)

    creating a false appearance or otherwise deceiving any person, or (ii) disseminating false or

    misleading documents, materials, or information or making, either orally or in writing, any false



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    or misleading statement in any communication with any investor or prospective investor, about:

    (A) any investment in securities; (B) the prospects for success of any product or company; (C) the

    use of investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state or federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                                B. Section 17(a)(2) of the Securities Act

           Pending further Order of the Court, all Defendants are preliminarily restrained and enjoined

    from violating Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2), in the offer or sale of

    any security by the use of any means or instruments of transportation or communication in

    interstate commerce or by use of the mails, directly or indirectly: to obtain money or property by

    means of any untrue statement of a material fact or any omission to state a material fact necessary

    in order to make the statements made, in light of the circumstances under which they were made,

    not misleading, by, directly or indirectly (i) creating a false appearance or otherwise deceiving any

    person, or (ii) disseminating false or misleading documents, materials, or information or making,

    either orally or in writing, any false or misleading statement in any communication with any



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    investor or prospective investor, about: (A) any investment in securities; (B) the prospects for

    success of any product or company; (C) the use of investor funds; (D) the safety of any securities

    investment; (E) the use of investor funds or investment proceeds; (F) Orders issued against the

    Defendants by state or federal enforcement agencies; (G) the financial status of Par Funding; or

    (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of the Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                                C. Section 17(a)(3) of the Securities Act

           Pending further Order of the Court, all Defendants are preliminarily restrained and enjoined

    from violating Section 17(a)(3) of the Securities Act, 15 U.S.C. § 77q(a)(3), in the offer or sale of

    any security by the use of any means or instruments of transportation or communication in

    interstate commerce or by use of the mails, directly or indirectly: to engage in any transaction,

    practice, or course of business which operates or would operate as a fraud or deceit upon the

    purchaser, by, directly or indirectly (i) creating a false appearance or otherwise deceiving any

    person, or (ii) disseminating false or misleading documents, materials, or information or making,

    either orally or in writing, any false or misleading statement in any communication with any

    investor or prospective investor, about: (A) any investment in securities; (B) the prospects for

    success of any product or company; (C) the use of investor funds; (D) the safety of any securities

    investment; (E) the use of investor funds or investment proceeds; (F) Orders issued against the




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    Defendants by state or federal enforcement agencies; (G) the financial status of Par Funding; or

    (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of the Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                     D.      Section 10(b) and Rule 10b-5(a) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman, and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby restrained and enjoined from violating

    Section 10(b) and Rule 10b-5(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15

    U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(a), by using any means or instrumentality of interstate

    commerce, or of the mails, or of any facility of any national securities exchange, in connection

    with the purchase or sale of any security, to employ any device, scheme, or artifice to defraud, by,

    directly or indirectly (i) creating a false appearance or otherwise deceiving any person, or (ii)

    disseminating false or misleading documents, materials, or information or making, either orally or

    in writing, any false or misleading statement in any communication with any investor or

    prospective investor, about: (A) any investment in securities; (B) the prospects for success of any

    product or company; (C) the use of investor funds; (D) the safety of any securities investment; (E)

    the use of investor funds or investment proceeds; (F) Orders issued against the Defendants by state




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    or federal enforcement agencies; (G) the financial status of Par Funding; or (H) the management

    of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                   E.      Section 10(b) and Rule 10b-5(b) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman, and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby restrained and enjoined from violating:

    Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(b), 17 C.F.R.

    § 240.10b-5(b), by using any means or instrumentality of interstate commerce, or of the mails, or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security, to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i) creating

    a false appearance or otherwise deceiving any person, or (ii) disseminating false or misleading

    documents, materials, or information or making, either orally or in writing, any false or misleading

    statement in any communication with any investor or prospective investor, about: (A) any



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    investment in securities; (B) the prospects for success of any product or company; (C) the use of

    investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state or federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                       F.      Section 10(b) and Ruleb-5(c) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman and their respective directors, officers,

    agents, servants, employees, attorneys, representatives and those persons in active concert or

    participation with them, and each of them, are hereby restrained and enjoined from violating

    Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(c), 17 C.F.R.

    § 240.10b-5(c), by using any means or instrumentality of interstate commerce, or of the mails, or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security, to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i) creating

    a false appearance or otherwise deceiving any person, or (ii) disseminating false or misleading



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    documents, materials, or information or making, either orally or in writing, any false or misleading

    statement in any communication with any investor or prospective investor, about: (A) any

    investment in securities; (B) the prospects for success of any product or company; (C) the use of

    investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state of federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                            G.     Sections 5(a) and 5(c) of the Securities Act

           Pending further Order of the Court, that all Defendants and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby enjoined from violating Sections 5(a) and

    5(c) of the Securities Act, 15 U.S.C. § 77e, by directly or indirectly, in the absence of any

    applicable exemption:

           (a)     Unless a registration statement is in effect as to a security, making use of any means

                   or instruments of transportation or communication in interstate commerce or of the




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                   mails to sell such security through the use or medium of any prospectus or

                   otherwise;

           (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                   be carried through the mails or in interstate commerce, by any means or instruments

                   of transportation, any such security for the purpose of sale or for delivery after sale;

                   or

           (c)     Making use of any means or instruments of transportation or communication in

                   interstate commerce or of the mails to offer to sell or offer to buy through the use

                   or medium of any prospectus or otherwise any security, unless a registration

                   statement has been filed with the Securities and Exchange Commission as to such

                   security, or while the registration statement is the subject of a refusal order or stop

                   order or (prior to the effective date of the registration statement) any public

                   proceeding or examination under Section 8 of the Securities Act, 15 U.S.C. § 77h.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                                                     III.

            ASSET FREEZE AS TO PAR FUNDING, MCELHONE, AND LAFORTE

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants Par Funding, McElhone, and LaForte and their respective directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, who receive notice of



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    this Order by personal service, mail, email, facsimile transmission or otherwise, hereby are

    restrained from, directly or indirectly, transferring, setting off, receiving, changing, selling,

    pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or property,

    including but not limited to cash, free credit balances, fully paid for securities, personal property,

    real property, and/or property pledged or hypothecated as collateral for loans, or charging upon or

    drawing from any lines of credit, owned by, controlled by, or in the possession of, whether jointly

    or singly, and wherever located, Par Funding, Lisa McElhone, and Joseph LaForte, a/k/a Joe Mack,

    a/k/a Joe Macki, a/k/a Joe McElhone.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Defendants Par Funding,

    McElhone, or LaForte, directly or indirectly, held jointly or singly, and wherever located, and

    which receives actual notice of this Order by personal service, mail, email, facsimile, or otherwise,

    shall hold and retain within its control and prohibit the withdrawal, removal, transfer, disposition,

    pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment, or other

    disposal of any such funds or other assets.

           This asset freeze is limited to the amount received from the securities fraud, which is

    estimated at this time to be $482,000,000.

                             ASSET FREEZE AS TO FULL SPECTRUM

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           Defendant Full Spectrum and its respective directors, officers, agents, servants, employees,

    attorneys, depositories, banks, and those persons in active concert or participation with any one or

    more of them, and each of them, who receive notice of this Order by personal service, mail, email,

    facsimile transmission or otherwise, hereby are restrained from, directly or indirectly, transferring,



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    setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing of,

    or withdrawing any assets or property of Par Funding, Full Spectrum, McElhone, or LaForte.

           This asset freeze is limited to the amount received from the securities fraud, which is

    estimated at this time to be $4,398,535.

                          ASSET FREEZE AS TO DEFENDANT ABFP,
                       ABFP INCOME FUND, AND ABFP INCOME FUND 2

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants ABFP, ABFP Income Fund, and ABFP Income Fund 2, and their

    respective directors, officers, agents, servants, employees, attorneys, depositories, banks, and those

    persons in active concert or participation with any one or more of them, and each of them, who

    receive notice of this Order by personal service, mail, email, facsimile transmission or otherwise,

    hereby are restrained from, directly or indirectly, transferring, setting off, receiving, changing,

    selling, pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or

    property, including but not limited to cash, free credit balances, fully paid for securities, personal

    property, real property, and/or property pledged or hypothecated as collateral for loans, or charging

    upon or drawing from any lines of credit, owned by, controlled by, or in the possession of, whether

    jointly or singly, and wherever located: ABFP, ABFP Income Fund, and ABFP Income Fund 2.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Defendants ABFP, ABFP

    Income Fund, and ABFP Income 2, directly or indirectly, held jointly or singly, and wherever

    located, and which receives actual notice of this Order by personal service, mail, email, facsimile,

    or otherwise, shall hold and retain within its control and prohibit the withdrawal, removal, transfer,

    disposition, pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment,

    or other disposal of any such funds or other assets.

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           C.      This asset freeze is limited to the amounts ABFP, ABFP Income Fund, and ABFP

    Income Fund 2 received from the securities fraud, which is estimated at this time to be:

    $25,487,690 as to ABFP Income Fund and ABFP, jointly and severally; $13,252,600 as to ABFP

    Income Fund 2 and ABFP, jointly and severally; and $1,914,045 as to ABFP independent of ABFP

    Income Fund and ABFP Income Fund 2.

    ASSET FREEZE AS TO DEFENDANTS UNITED FIDELIS AND FIDELIS FINANCIAL

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants United Fidelis and Fidelis Financial, and their respective directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, who receive notice of

    this Order by personal service, mail, email, facsimile transmission or otherwise hereby are,

    restrained from, directly or indirectly, transferring, setting off, receiving, changing, selling,

    pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or property,

    including but not limited to cash, free credit balances, fully paid for securities, personal property,

    real property, and/or property pledged or hypothecated as collateral for loans, or charging upon or

    drawing from any lines of credit, owned by, controlled by, or in the possession of, whether jointly

    or singly, and wherever located: United Fidelis and Fidelis Financial.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of United Fidelis and Fidelis

    Financial, directly or indirectly, held jointly or singly, and wherever located, and which receives

    actual notice of this Order by personal service, mail, email, facsimile, or otherwise, shall hold and

    retain within its control and prohibit the withdrawal, removal, transfer, disposition, pledge,




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    encumbrance, assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of

    any such funds or other assets.

           C.      This asset freeze is limited to the amounts United Fidelis and Fidelis Financial

    received from the fraud, which is estimated at this time to be: $11,603,000, jointly and severally.

              ASSET FREEZE AS TO DEFENDANTS RETIREMENT EVOLUTION,
                      RE INCOME FUND, AND RE INCOME FUND 2

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants Retirement Evolution, RE Income Fund, and RE Income Fund 2, and

    their respective directors, officers, agents, servants, employees, attorneys, depositories, banks, and

    those persons in active concert or participation with any one or more of them, and each of them,

    who receive notice of this Order by personal service, mail, email, facsimile transmission or

    otherwise, hereby are restrained from, directly or indirectly, transferring, setting off, receiving,

    changing, selling, pledging, assigning, liquidating or otherwise disposing of, or withdrawing any

    assets or property, including but not limited to cash, free credit balances, fully paid for securities,

    personal property, real property, and/or property pledged or hypothecated as collateral for loans,

    or charging upon or drawing from any lines of credit, owned by, controlled by, or in the possession

    of, whether jointly or singly, and wherever located: Retirement Evolution, RE Income Fund, and

    RE Income Fund 2.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Retirement Evolution, RE

    Income Fund, and RE Income Fund 2, directly or indirectly, held jointly or singly, and wherever

    located, and which receives actual notice of this Order by personal service, mail, email, facsimile,

    or otherwise, shall hold and retain within its control and prohibit the withdrawal, removal, transfer,




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    disposition, pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment,

    or other disposal of any such funds or other assets.

            C.        This asset freeze is limited to the amounts Retirement Evolution, RE Income Fund,

    and RE Income Fund 2 received from the fraud, which is estimated at this time to be: $6.5 million

    as to Retirement Evolution; $5,450,000 as to RE Income Fund; and $150,000 as to RE Income

    Fund 2.

                              ASSET FREEZE AS TO DEFENDANT COLE

            Pending determination of Plaintiff’s request for a Preliminary Injunction:

            A.        Defendant Cole and his respective directors, officers, agents, servants, employees,

    attorneys, depositories, banks, and those persons in active concert or participation with any one or

    more of them, and each of them, who receive notice of this Order by personal service, mail, email,

    facsimile transmission or otherwise, hereby are restrained from, directly or indirectly, transferring,

    setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing of,

    or withdrawing any assets or property, including but not limited to cash, free credit balances, fully

    paid for securities, personal property, real property, and/or property pledged or hypothecated as

    collateral for loans, or charging upon or drawing from any lines of credit, owned by, controlled

    by, or in the possession of, whether jointly or singly, and wherever located: Joseph Cole Barleta,

    a/k/a Joe Cole.

            B.        Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Cole, directly or indirectly,

    held jointly or singly, and wherever located, and which receives actual notice of this Order by

    personal service, mail, email, facsimile, or otherwise, shall hold and retain within its control and




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    prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance, assignment, set off,

    sale, liquidation, dissipation, concealment, or other disposal of any such funds or other assets.

            C.         This asset freeze is limited to the amount Cole received from the fraud, which is

    estimated at this time to be $16,159,000.

                          ASSET FREEZE AS TO L.M.E. 2017 FAMILY TRUST

            Pending determination of Plaintiff’s request for a Preliminary Injunction:

            A.         Relief Defendant L.M.E. 2017 Family Trust and its respective directors, officers,

    agents, servants, employees, attorneys, depositories, banks, and those persons in active concert or

    participation with any one or more of them, and each of them, who receive notice of this Order by

    personal service, mail, email, facsimile transmission or otherwise, hereby are restrained from,

    directly or indirectly, transferring, setting off, receiving, changing, selling, pledging, assigning,

    liquidating or otherwise disposing of, or withdrawing any assets or property, including but not

    limited to cash, free credit balances, fully paid for securities, personal property, real property,

    and/or property pledged or hypothecated as collateral for loans, or charging upon or drawing from

    any lines of credit, owned by, controlled by, or in the possession of, whether jointly or singly, and

    wherever located: The L.M.E. 2017 Family Trust.

            B.         Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of the L.M.E. 2017 Family

    Trust, directly or indirectly, held jointly or singly, and wherever located, and which receives actual

    notice of this Order by personal service, mail, email, facsimile, or otherwise, shall hold and retain

    within its control and prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance,

    assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of any such funds

    or other assets.



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           C.        This asset freeze is limited to the amount the L.M.E. 2017 Family Trust received

    from the fraud, which is estimated at this time to be $14.3 million.

                                                      IV.

                                         SWORN ACCOUNTINGS

                     Accounting and Identification of Accounts by Each Defendant

           Within five calendar days of the issuance of this Order, each Defendant, separately, shall:

               (a)   make a sworn accounting to this Court and the Plaintiff of all funds, whether in the

    form of compensation, commissions, income (including payments for assets, shares or property of

    any kind), and other benefits (including the provision of services of a personal or mixed business

    and personal nature) received, directly or indirectly, by the Defendant making the sworn

    accounting;

           (b)       make a sworn accounting to this Court and the Plaintiff of all assets, funds, or other

    properties, whether real or personal, held by the Defendant making the sworn accounting, jointly

    or individually, or for its direct or indirect beneficial interest, or over which it maintains control,

    wherever situated, stating the location, value, and disposition of each such asset, fund, and other

    property; and

           (c)       provide to the Court and the Plaintiff a sworn identification of all accounts

    (including, but not limited to, bank accounts, savings accounts, securities accounts and deposits of

    any kind and wherever situated) in which the Defendant making the sworn accounting (whether

    solely or jointly), directly or indirectly (including through a corporation, partnership, relative,

    friend or nominee), either has an interest or over which he has the power or right to exercise

    control.




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                                                      V.

                                      RECORDS PRESERVATION

           Pending determination of the Plaintiff’s request for a Preliminary Injunction, all Defendants

    and the Relief Defendant, their directors, officers, agents, servants, employees, attorneys,

    depositories, banks, and those persons in active concert or participation with any one or more of

    them, and each of them, hereby are restrained and enjoined from, directly or indirectly, destroying,

    mutilating, concealing, altering, disposing of, or otherwise rendering illegible in any manner, any

    of the books, records, documents, correspondence, brochures, manuals, papers, ledgers, accounts,

    statements, obligations, files and other property of or pertaining to any and all Defendants and the

    Relief Defendant, wherever located and in whatever form, electronic or otherwise, until further

    Order of this Court.

                                                     VI.

                                       EXPEDITED DISCOVERY

           (a)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties may take depositions upon oral examination of

    parties and non-parties subject to two days’ notice. Should any Defendant fail to appear for a

    properly noticed deposition, that party may be prohibited from introducing evidence at the hearing

    on the Plaintiff’s request for a preliminary injunction;

           (b)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties shall be entitled to serve interrogatories, requests for

    the production of documents and requests for admissions. The parties shall respond to such

    discovery requests within two days of service;




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           (c)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties may issue subpoenas for documents, things and

    electronically stored information to non-parties pursuant to Fed. R. Civ. P. 45, with responses due

    within one week of the date of service;

           (d)     All responses to the Plaintiff’s discovery requests shall be delivered to Amie Riggle

    Berlin, Esq. at 801 Brickell Avenue, Suite 1950, Miami, Florida 33131 by the most expeditious

    means available; and

           (e)     Service of discovery requests shall be sufficient if made upon the parties by email,

    facsimile, or overnight courier, and depositions may be taken by telephone or other remote

    electronic means.

                                                    VII.

                                   RETENTION OF JURISDICTION

           This Court shall retain jurisdiction over this matter and Defendants and Relief Defendants

    in order to implement and carry out the terms of all Orders and Decrees that may be entered and/or

    to entertain any suitable application or motion for additional relief within the jurisdiction of this

    Court, and will order other relief that this Court deems appropriate under the circumstances.



           DONE AND ORDERED in Fort Lauderdale, Florida, this 28th day of July, 2020.




                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE


    Copies to: Counsel of Record



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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 9:20-cv-81205-RAR

  SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS GROUP,
    INC. d/b/a/ PAR FUNDING, et al.,

                          Defendants
  ____________________________________________/

               SPECIALLY APPEARING DEFENDANT DEAN VAGNOZZI'S
              RESPONSE TO SECURITIES AND EXCHANGE COMMISSION’S
                        FIRST REQUEST FOR ADMISSIONS

         Specially appearing Defendant DEAN VAGNOZZI (hereinafter “Defendant”), by and

  through his undersigned counsel, hereby responds to Plaintiff SECURITIES AND EXCHANGE

  COMMISSION’S (“Plaintiff”) First Requests for Admissions (the “Admission Requests”) as

  follows:

                         GENERAL STATEMENT AND OBJECTIONS

         1.      Defendant objects to the Admission Requests for lack of due process under the

  United States Constitution. The Court has imposed a two-calendar day response deadline without

  having provided Defendant any notice or opportunity to contest expedited discovery. This violates

  the Federal Rules of Civil Procedure and the United States Constitution. Defendant has not had

  adequate time to investigate his responses to the Admission Requests, which violates his

  Constitutional rights. Moreover, Defendant's counsel only appeared in this action the day prior to

  service of the Admission Requests, and has not had adequate time to investigate the allegations
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  and the Admission Requests in order to properly advise Defendant on his responses, which further

  violates Defendant's Constitutional rights. To the extent these Admission Requests are attempted

  to be used in any criminal prosecution, the circumstances of the Admission Requests further deny

  Defendant his right to effective assistance of counsel under the United States Constitution.

         2.      Defendant has not completed his investigation of the facts relating to this case.

  Therefore, this response represents Defendant’s present knowledge based upon information known

  to it as of this date, and Defendant reserves the full right to withdraw any response to the Admission

  Requests at a later time. Defendant also reserves the right to (i) supplement, amend or correct all

  or any part of the responses provided herein and (ii) object to the admissibility in evidence of all

  or any part of the responses provided herein and any information contained herein.

         3.      Defendant will make reasonable efforts to respond to each Admission Request, to

  the extent that no objection is made, as Defendant understands and interprets the Admission

  Request. If Plaintiff subsequently assert any interpretation of any Admission Request or term

  included within a request that differs from Defendant’s interpretation, Defendant reserves the right

  to supplement or amend its objections and/or responses.

         4.      Defendant objects to the Admission Request (including its accompanying

  definitions and instructions) to the extent it calls for admissions relating to information or

  documents which were generated, prepared, received or obtained for or in anticipation of litigation,

  constitute attorney work-product or contain attorney-client communications, or are otherwise

  privileged, confidential or immune from disclosure. Defendant further objects to the Admission

  Request to the extent it seeks admissions relating to information or documents that are confidential

  or privileged under applicable privacy rights.




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          5.     Defendant objects to the Admission Requests to the extent they seek to impose

  obligations to provide information beyond that required by the Federal Rules of Civil Procedure,

  and laws governing the proper scope of discovery.

          6.     Defendant objects to the Admission Requests to the extent they call for admissions

  about documents or information not limited to the time period relevant to the claims against it, are

  compound, or require Defendant to make legal conclusions. Defendant further objects to the

  Request to the extent it calls for admissions relating to documents or information that are neither

  relevant to this case nor reasonably calculated to lead to the discovery of admissible evidence.

          7.     Personal Jurisdiction Objection: The information requested is not relevant to the

  existence of jurisdiction over Defendant

          8.     Without waiver of any of the foregoing general objections, Defendant responds and

  specifically objects to Plaintiffs’ Admission Requests as follows:

                          RESPONSES TO INDIVIDUAL REQUESTS


          1. Admit that you are an owner of ABFP Income Fund.

          Response:      Defendant admits only that he is the sole member of the Manager of

          ABFP Income Fund. Otherwise denied.

          2.     Admit that from the creation of ABFP until at least July 27, 2020, you controlled

  ABFP.

          Response:      Defendant objects to the term “controlled” as being overly broad,

          vague, and undefined. Without waiving said objection, Defendant admits only that

          he serves as the sole member of ABFP. Otherwise denied.

          3.     Admit that from the creation of ABFP Management until at least July 27, 2020, you

  controlled ABFP Management.


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        Response:     Defendant objects to the term “controlled” as being overly broad,

        vague, and undefined. Without waiving said objection, Defendant admits only that

        he serves as the sole member of ABFP Management. Otherwise denied.

        4.     Admit that you are an owner of ABFP Income Fund.

        Response:     Defendant admits only that he is the sole member of the Manager of

        ABFP Income Fund. Otherwise denied.

        5.     Admit that from the creation of ABFP Income Fund until at least July 27, 2020,

  you controlled ABFP Income Fund.

        Response:     Defendant objects to the term “controlled” as being overly broad,

        vague, and undefined. Without waiving said objection, Defendant admits only that he

        serves as the sole member of the Manager of ABFP Income Fund. Otherwise denied.

        6.     Admit that you are an owner of ABFP Income Fund 2.

        Response:     Defendant admits only that he is the sole member of the general partner

        of ABFP Income Fund 2. Otherwise denied.

        7.     Admit that from the creation of ABFP Income Fund 2 until at least July 27, 2020,

  you controlled ABFP Income Fund 2.

        Response:     Defendant objects to the term “controlled” as being overly broad,

        vague, and undefined. Without waiving said objection, Defendant admits only that he

        serves as the sole member of the general partner of ABFP Income Fund 2. Otherwise

        denied.

        8.     Admit that you held Series 6 and 63 securities licenses.

        Response:     Admitted.

        9.     Admit that the Series 6 and Series 63 securities licenses you held have expired.



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         Response:     Defendant admits only that he is no longer registered with FINRA for

         securities licenses. Otherwise denied.

         10.    Admit that you were associated with a FINRA-registered securities broker-dealer

  from February 2008 until February 2009.

         Response:     Admitted.

         11.    Admit that you solicited investors to invest in Par Funding promissory notes.

         Response:     Denied. Defendant also objects to the terms “solicited” and “investors”

         as being overly broad, vague, and undefined. Further, Defendant objects to this

         Request to the extent that his request improperly asks Defendant to provide a legal

         conclusion as to the phrase “solicited.”

         12.    Admit that you solicited investors to invest in Par Funding promissory notes from

  about August 2016 until December 2017.

         Response:     Denied. Defendant objects to the terms “solicited” and “investors” as

         being overly broad, vague, and undefined. Further, Defendant objects to this Request

         to the extent that his request improperly asks Defendant to provide a legal conclusion

         as to the phrase “solicited.”

         13.    Admit that in 2018 you recruited individuals to start Agent Funds.

         Response:     Denied. Defendant objects to this request as being unduly vague and

         ambiguous because the term “recruited” is not defined, is reasonably subject to more

         than one definition or interpretation, and Defendant does not know what Plaintiff

         means by its use of the term.

         14.    Admit that in 2018 you trained individuals to solicit investors in Agent Funds.




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        Response:     Denied.    Defendant objects to the terms “solicit”, “trained”, and

        “investors” as being overly broad, vague, and undefined. Further, Defendant objects

        to this Request to the extent that the request improperly asks Defendant to provide a

        legal conclusion as to the phrase “solicit.”

        15.    Admit that in 2019 you recruited individuals to start Agent Funds.

        Response:     Denied. Defendant objects to this request as being unduly vague and

        ambiguous because the term “recruited” is not defined, is reasonably subject to more

        than one definition or interpretation, and Defendant does not know what Plaintiff

        means by its use of the term.

        16.    Admit that in 2019 you trained individuals to solicit investors in Agent Funds.

        Response:     Denied.    Defendant objects to the terms “solicit”, “trained”, and

        “investors” as being overly broad, vague, and undefined. Further, Defendant objects

        to this Request to the extent that the request improperly asks Defendant to provide a

        legal conclusion as to the phrase “solicit.”

        17.    Admit that in 2020 you recruited individuals to start Agent Funds.

        Response:     Denied. Defendant objects to this request as being unduly vague and

        ambiguous because the term “recruited” is not defined, is reasonably subject to more

        than one definition or interpretation, and Defendant does not know what Plaintiff

        means by its use of the term.

        18.    Admit that in 2019 you trained individuals to solicit investors in Agent Funds.

        Response:     Denied.    Defendant objects to the terms “solicit”, “trained”, and

        “investors” as being overly broad, vague, and undefined. Further, Defendant objects




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         to this Request to the extent that the request improperly asks Defendant to provide a

         legal conclusion as to the phrase “solicit.”

         19.    Admit that Exhibit A is a true and correct copy of the “Agent Guide.”

         Response:      Defendant admits only that Exhibit A is a true and correct copy of an

         ABFP document titled "Agent Guide." Otherwise denied.

         20.    Admit that you drafted the document attached as Exhibit A.

         Response:      Defendant admits only that he was involved in the drafting process of

         Exhibit A. Otherwise denied.

         21.    Admit that you approved the document attached as Exhibit A for distribution.

         Response:      Defendant admits only that he approved the content of Exhibit A.

         Otherwise denied.

         22.    Admit that you gave Exhibit A to individuals who were creating Agent Funds.

         Response:      Defendant denies any recollection of ever providing Exhibit A to

         individuals who were creating Agent Funds. Otherwise denied.

         23.    Admit that you learned about the Pennsylvania Order Against Par Funding by no

  later than December 2018.

         Response:      Defendant admits only that he learned about the Pennsylvania Order

         when it was announced publicly, which he recalls being in December 2018. Otherwise

         denied.

         24.    Admit that you learned about the New Jersey Order Against Par Funding by no

  later than January 2019.




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         Response:       Defendant admits only that he learned about the New Jersey Order

         when it was announced publicly, which he recalls being in December 2018. Otherwise

         denied.

         25.     Admit that in May 2019, you agreed to the entry of the Pennsylvania Order Against

  You.

         Response:       Defendant admits only that, without admitting or denying the

         allegations of the Pennsylvania Order, Defendant agreed to settle with the

         Pennsylvania state securities regulators on the terms set forth in the Pennsylvania

         Order. Otherwise denied.

         26.     Admit that on July 14, 2020, the Commission instituted settled administrative

  proceedings against You for his offering and selling unregistered securities in violation of Section

  5 of the Securities Act and acting as an unregistered broker-dealer in violation of Section 15(a) of

  the Exchange Act.

         Response:       Defendant admits only that the Commission instituted administrative

         proceedings as set forth in Release No. 34-89318, which speaks for itself.       Otherwise

         denied.

         27.     Admit that ABFP Manageemnt is engaged in the business of, among things,

  providing management services related to organizing and operating companies formed for the

  purpose of raising funds from investors and using the investor funds to invest in alternative

  investments.

         Response:       Denied.




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         28.       Admit that ABFP Management provides management services for the Par Funding

  Agent Funds in exchange for a portion of the investment returns the Agent Funds receive from Par

  Funding.

         Response:        Admit only that, as fully disclosed in the private placement memoranda

         for ABFP Income Fund and ABFP Income Fund 2, ABFP Management serves as the

         Manager of Income Fund and the General Partner of ABFP Income Fund 2, and in

         the case of ABFP Income Fund, retains the difference between the amount paid to the

         fund from the merchant cash promissory notes and the amounts payable on the fund

         notes, and, in the case of ABFP Income Fund 2, received partnership interests.

         Otherwise denied.

         29.       Admit that ABFP has been soliciting investors for Par Funding since no later than

  April 4, 2017.

         Response:        Denied.    Defendant also objects to the terms “soliciting” and

         “investors” as being overly broad, vague, and undefined. Further, Defendant objects

         to this Request to the extent that his request improperly asks Defendant to provide a

         legal conclusion as to the phrase “soliciting.”

         30.       Admit that in February 2020 the Texas Securities Board issued an Emergency

  Cease-And-Desist Order against ABFP based on alleged Texas state securities violations in

  connection with the offer and sale of Par Funding promissory notes.

         Response:        Defendant admits only that the Texas Securities Board issued an

         Emergency Cease-And-Desist Order, which speaks for itself. Otherwise denied.

         31.       Admit that in the February 2020 Texas Case, ABFP claimed that it only sells

  insurance and not securities.



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         Response:      Defendant admits only that ABFP is an entity that operates an

         insurance agency and does not issue securities. Otherwise denied.

         32.     Admit that on July 14, 2020, the Commission instituted settled administrative

  proceedings with ABFP for its violations of Section 5 of the Securities Act and Section 15(a) of

  the Exchange Act in connection with the sale of securities.

         Response:      Defendant admits only that the Commission instituted administrative

         proceedings as set forth in Release No. 34-89318, which speaks for itself.    Otherwise

         denied.

         33.     Admit that ABFP Income Fund began selling promissory notes to investors by no

  later than February 2019.

         Response:      Defendant admits only that ABFP Income Fund issued promissory

         notes to noteholders starting no later than February 2019 but stopped issuing

         promissory notes long ago. Otherwise denied. Defendant objects to this request as

         being unduly vague and ambiguous because the term “investors” is not defined, is

         reasonably subject to more than one definition or interpretation, and Defendant does

         not know what Plaintiff means by its use of the term.

         34.     Admit that beginning no later than March 2019 ABFP Income Fund sold

  promissory notes to investors and sent the investor money to Par Funding.

         Response:      Defendant admits only that ABFP Income Fund issued promissory

         notes to noteholders stating no later than March 2019 but stopped issuing promissory

         notes long ago, and that, as fully disclosed in the private placement memorandum,

         ABFP purchase promissory notes issued by merchant cash advance companies.

         Otherwise denied. Defendant objects to this request as being unduly vague and



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         ambiguous because the term “investors” is not defined, is reasonably subject to more

         than one definition or interpretation, and Defendant does not know what Plaintiff

         means by its use of the term.

         35.    Admit that beginning no later than February 2019, ABFP has now raised at least

  $22 million from investors through the offer and sale of promissory notes.

         Response:      Defendant admits only that ABFP is an insurance agency and does not

         issue securities. Otherwise denied. Defendant objects to this request as being unduly

         vague and ambiguous because the terms “investors” and "raised" are not defined,

         are reasonably subject to more than one definition or interpretation, and Defendant

         does not know what Plaintiff means by its use of the terms.

         36.    Admit that ABFP advertises its investment offerings to the general public.

         Response:      Denied. Defendant objects to this request as being unduly vague and

         ambiguous because the terms "investment offerings" are not defined, are reasonably

         subject to more than one definition or interpretation, and Defendant does not know

         what Plaintiff means by its use of the terms.

         37.    Admit that ABFP advertises its investment offerings through the radio.

         Response:      Denied. Defendant objects to this request as being unduly vague and

         ambiguous because the terms "investment offerings" and “through the radio” are not

         defined, are reasonably subject to more than one definition or interpretation, and

         Defendant does not know what Plaintiff means by its use of the terms.

         38.    Admit that ABFP advertises its investment offerings through television

  advertisements.




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         Response:     Denied. Defendant objects to this request as being unduly vague and

         ambiguous because the terms "investment offerings" and “through television” are

         not defined, are reasonably subject to more than one definition or interpretation, and

         Defendant does not know what Plaintiff means by its use of the terms.

         39.    Admit that ABFP only sells promissory notes to raise funds for one merchant cash

  advance company, Par Funding.

         Response:     Denied.

         40.    Admit that ABFP Income Fund has only sold promissory notes to raise funds in

  connection with one company, Par Funding.

         Response:     Defendant admits only that ABFP Income Fund has purchased

         promissory notes only from PAR Funding. Otherwise denied.

         41.    Admit that ABFP Income Fund 2 has only sold promissory notes to raise funds in

  connection with one company, Par Funding.

         Response:     Denied.

         42.    Admit that you did not tell all potential investors who invested in ABFP Income

  Fund about the Pennsylvania Order Against You.

         Response:     Denied. Further Defendant objects to this request as being unduly

         vague and ambiguous because the term “potential investors” is not defined, is

         reasonably subject to more than one definition or interpretation, and Defendant does

         not know what Plaintiff means by its use of the term.

         43.    Admit that you did not tell all potential investors who invested in ABFP Income

  Fund 2 about the Pennsylvania Order Against You.




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        Response:       Denied. Further Defendant objects to this request as being unduly

        vague and ambiguous because the term “potential investors” is not defined, is

        reasonably subject to more than one definition or interpretation, and Defendant does

        not know what Plaintiff means by its use of the term.

        44.    Admit that you did not tell all potential investors who invested in ABFP Income

  Fund about the Texas Order against ABFP.

        Response:       Denied. Further Defendant objects to this request as being unduly

        vague and ambiguous because the term “potential investors” is not defined, is

        reasonably subject to more than one definition or interpretation, and Defendant does

        not know what Plaintiff means by its use of the term.

        45.    Admit that you did not tell all potential investors who invested in ABFP Income

  Fund 2 about the Texas Order against ABFP.

        Response:       Denied. Further Defendant objects to this request as being unduly

        vague and ambiguous because the term “potential investors” is not defined, is

        reasonably subject to more than one definition or interpretation, and Defendant does

        not know what Plaintiff means by its use of the term.

        46.    Admit that you did not tell all potential investors in ABFP about the Pennsylvania

  Order Against CBSG.

        Response:       Defendant denies that ABFP has any "potential investors." Otherwise

        denied.   Further Defendant objects to this request as being unduly vague and

        ambiguous because the term “potential investors” is not defined, is reasonably subject

        to more than one definition or interpretation, and Defendant does not know what

        Plaintiff means by its use of the term.



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         47.     Admit that you did not tell all potential investors in ABFP Income Fund about the

  Pennsylvania Order Against CBSG.

         Response:      Denied. Further Defendant objects to this request as being unduly

         vague and ambiguous because the term “potential investors” is not defined, is

         reasonably subject to more than one definition or interpretation, and Defendant does

         not know what Plaintiff means by its use of the term.

         48.     Admit that you did not tell all potential investors in ABFP about the Pennsylvania

  Order Against CBSG.

         Response:      Defendant denies that ABFP has any "potential investors." Otherwise

         denied.   Further Defendant objects to this request as being unduly vague and

         ambiguous because the term “potential investors” is not defined, is reasonably subject

         to more than one definition or interpretation, and Defendant does not know what

         Plaintiff means by its use of the term.

         49.     Admit that you asked Joseph LaForte to pay half of the legal fees for individuals to

  create the Agent Funds.

         Response:      Denied.

         50.     Admit that ABFP Management receives a percentage of the profits some Agent

  Funds earn from the offer and sale of promissory notes.

         Response:      Defendant admits only that ABFP Management is paid a contractual

         administrative fee from certain other funds and does not issue securities. Otherwise

         denied.

         51.     Admit that ABFP Management receives 25 percent of the profits some Agent Funds

  earn from the offer and sale of promissory notes.



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         Response:      Defendant admits only that ABFP Management is paid a contractual

         administrative fee from certain other funds and does not issue securities. Otherwise

         denied.

         52.     Admit that ABFP Income Fund was created to raise money for Par Funding through

  the offer and sale of promissory notes.

         Response:      Denied.

         53.     Admit that ABFP Income Fund 2 was created to raise money for Par Funding

  through the offer and sale of promissory notes.

         Response:      Denied.

         54.     Admit that until at least December 2019 you told potential investors to open an

  account at CamaPlan in order to invest in Par Funding.

         Response:      Defendant admits only that he told some individuals who expressed an

         interest in opening a self-directed IRA to hold promissory notes related to the

         merchant cash advance business that they could open such an account at CamaPlan.

         Otherwise denied. Defendant objects to this request as being unduly vague and

         ambiguous because the term “potential investors” is not defined, is reasonably subject

         to more than one definition or interpretation, and Defendant does not know what

         Plaintiff means by its use of the term.

         55.     Admit that when an investor contributes funds Par Funding through their self-

  directed IRA account at CamaPlan, you receive a commission.

         Response:      Denied. Defendant objects to this request as being unduly vague and

         ambiguous because the term “investor” is not defined, is reasonably subject to more




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         than one definition or interpretation, and Defendant does not know what Plaintiff

         means by its use of the term.

         56.     Admit that when an investor contributes funds Par Funding through their self-

  directed IRA account at CamaPlan, you receive a commission from Par Funding.

         Response:      Denied. Defendant objects to this request as being unduly vague and

         ambiguous because the term “investors” is not defined, is reasonably subject to more

         than one definition or interpretation, and Defendant does not know what Plaintiff

         means by its use of the term.

         57.     Admit that you and your attorney John Pauciulo have solicited investors together.

         Response:      Denied. Defendant also objects to this request as being unduly vague

         and ambiguous because the terms “investors” and “solicited” is not defined, is

         reasonably subject to more than one definition or interpretation, and Defendant does

         not know what Plaintiff means by its use of the term. Further, Defendant objects to

         this Request to the extent that his request improperly asks Defendant to provide a

         legal conclusion as to the phrase “solicited.”

         58.     Admit that you and your attorney John Pauciulo have solicited investors together

  to invest in promissory notes.

         Response:      Denied. Defendant also objects to this request as being unduly vague

         and ambiguous because the terms “investors” and “solicited” is not defined, is

         reasonably subject to more than one definition or interpretation, and Defendant does

         not know what Plaintiff means by its use of the term. Further, Defendant objects to

         this Request to the extent that his request improperly asks Defendant to provide a

         legal conclusion as to the phrase “solicited.”



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         59.     Admit that you planned with Joseph LaForte to purchase a bank in Texas.

         Response:      Denied. Defendant also objects to this request as irrelevant to the

         allegations in the Plaintiff's' complaint.

         60.     Admit that Exhibit B is a true and correct copy of an email you sent to ABFP

  investors in July 2020.

         Response:      Defendant admits only that Exhibit B is a true and correct copy of an

         email that he sent to certain clients of ABFP in July 2020. Otherwise denied.

         61.     Admit that Exhibit B is a true and correct copy of an email you sent to ABFP

  Income Fund investors in July 2020.

         Response:      Defendant admits only that Exhibit B is a true and correct copy of an

         email that he sent to certain noteholders of ABFP Income Fund in July 2020.

         Otherwise denied.

         62.     Admit that Exhibit B is a true and correct copy of an email you sent to ABFP

  Income Fund 2 investors in July 2020.

         Response:      Defendant admits only that Exhibit B is a true and correct copy of an

         email that he sent to certain holders of units in ABFP Income Fund 2 in July 2020.

         Otherwise denied.

         63.     Admit that you approved the press release in Exhibit B.

         Response:      Defendant admits only that he reviewed Exhibit B before it was issued.

         Otherwise denied.

         64.     Admit that the Securities and Exchange Commission did not make a finding that

  no investor funds were mishandled or misused by you or any of your companies.




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         Response:         Defendant admits only that, to the best of his knowledge, the Securities

         and Exchange Commission has never found that Defendant or his companies ever

         mishandled or misused any investor funds. Otherwise denied. Defendant also objects

         to this request as being unduly vague and ambiguous because Plaintiff does not give

         any detail as to any specific findings it alludes to, and Defendant lacks knowledge

         regarding what information the Securities and Exchange Commission may or may

         not have found.

         65.     Admit that the Securities and Exchange Commission did not make a finding that

  all investments offered by ABFP were carried out in a manner consistent with the information

  provided to investors.

         Response:         Defendant admits only that, to the best of his knowledge, the Securities

         and Exchange Commission has never found that Defendant or his companies ever

         mishandled or misused any investor funds. Otherwise denied. Defendant also objects

         to this request as being unduly vague and ambiguous because Plaintiff does not give

         any detail as to any specific findings it alludes to, and Defendant lacks knowledge

         regarding what information the Securities and Exchange Commission may or may

         not have found.


         Dated: August 3, 2020

                                                AKERMAN LLP
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                                                Telephone: (305) 374-5600
                                                Facsimile: (305) 374-5095

                                                By: /s/ Brian P. Miller
                                                   Brian P. Miller, Esq.

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                                      154


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                                                  Attorneys for Dean Vagnozzi



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Specially Appearing

  Defendant Dean Vagnozzi's Response to Securities and Exchange Commission’s First Request for

  Admissions was served electronically this 3rd day of August, 2020 to:


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   Securities and Exchange Commission              Fridman Fels & Soto, PLLC
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                                      154


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                                                  Financial Plan; ABFP Management Company,
   Attorneys for Complete Business Solutions      LLC f/k/a Pillar Life Settlement Management
   Group, Inc., d/b/a Par Funding, Full           Company, LLC; ABFP Income Fund LLC;
   Spectrum Processing, Inc., Lisa McElhone,      ABFP Income Fund 2, L.P.; United Fidelis
   Joseph Cole Barleta and Joseph W. LaForte      Group Corp.,; Fidelis Financial Planning
   and relief defendant L.M.E. 2017 Family        LLC; Retirement Evolution Group, LLC; RE
   Trust                                          Income Fund LLC; and RE Income Fund 2
                                                  LLC

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   Evolution Group, LLC, Retirement Evolution     Attorneys for Defendant Perry S. Abbonizio
   Income Fund, LLC f/k/a RE Income Fund
   LLC and RE Income Fund 2, LLC

   Jeffrey L. Cox

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                                      154


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                                                    /s/ Brian P. Miller
                                                    Attorney




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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 9:20-cv-81205-RAR

  SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,

  v.

  COMPLETE BUSINESS SOLUTIONS GROUP,
    INC. d/b/a/ PAR FUNDING, et al.,

                          Defendants
  ____________________________________________/

               SPECIALLY APPEARING DEFENDANT DEAN VAGNOZZI'S
              RESPONSE TO SECURITIES AND EXCHANGE COMMISSION’S
                        SECOND REQUEST FOR ADMISSIONS

         Specially appearing Defendant DEAN VAGNOZZI (hereinafter “Defendant”), by and

  through his undersigned counsel, hereby responds to Plaintiff SECURITIES AND EXCHANGE

  COMMISSION’S (“Plaintiff”) Second Requests for Admissions (the “Admission Requests”) as

  follows:

                         GENERAL STATEMENT AND OBJECTIONS

         1.      Defendant objects to the Admission Requests for lack of due process under the

  United States Constitution. The Court has imposed a two-calendar day response deadline without

  having provided Defendant any notice or opportunity to contest expedited discovery. This violates

  the Federal Rules of Civil Procedure and the United States Constitution. Defendant has not had

  adequate time to investigate his responses to the Admission Requests, which violates his

  Constitutional rights. Moreover, Defendant's counsel only appeared in this action the day prior to

  service of the Admission Requests, and has not had adequate time to investigate the allegations
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  and the Admission Requests in order to properly advise Defendant on his responses, which further

  violates Defendant's Constitutional rights. To the extent these Admission Requests are attempted

  to be used in any criminal prosecution, the circumstances of the Admission Requests further deny

  Defendant his right to effective assistance of counsel under the United States Constitution.

         2.      Defendant has not completed his investigation of the facts relating to this case.

  Therefore, this response represents Defendant’s present knowledge based upon information known

  to it as of this date, and Defendant reserves the full right to withdraw any response to the Admission

  Requests at a later time. Defendant also reserves the right to (i) supplement, amend or correct all

  or any part of the responses provided herein and (ii) object to the admissibility in evidence of all

  or any part of the responses provided herein and any information contained herein.

         3.      Defendant will make reasonable efforts to respond to each Admission Request, to

  the extent that no objection is made, as Defendant understands and interprets the Admission

  Request. If Plaintiff subsequently asserts any interpretation of any Admission Request or term

  included within a request that differs from Defendant’s interpretation, Defendant reserves the right

  to supplement or amend its objections and/or responses.

         4.      Defendant objects to the Admission Request (including its accompanying

  definitions and instructions) to the extent it calls for admissions relating to information or

  documents which were generated, prepared, received or obtained for or in anticipation of litigation,

  constitute attorney work-product or contain attorney-client communications, or are otherwise

  privileged, confidential or immune from disclosure. Defendant further objects to the Admission

  Request to the extent it seeks admissions relating to information or documents that are confidential

  or privileged under applicable privacy rights.




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          5.         Defendant objects to the Admission Requests to the extent they seek to impose

  obligations to provide information beyond that required by the Federal Rules of Civil Procedure,

  and laws governing the proper scope of discovery.

          6.         Defendant objects to the Admission Requests to the extent they call for admissions

  about documents or information not limited to the time period relevant to the claims against it, are

  compound, or require Defendant to make legal conclusions. Defendant further objects to the

  Request to the extent it calls for admissions relating to documents or information that are neither

  relevant to this case nor reasonably calculated to lead to the discovery of admissible evidence.

          7.         Personal Jurisdiction Objection: The information requested is not relevant to the

  existence of jurisdiction over Defendant

          8.         Without waiver of any of the foregoing general objections, Defendant responds and

  specifically objects to Plaintiffs’ Admission Requests as follows:

                               RESPONSES TO INDIVIDUAL REQUESTS

               1
          1.       Admit that you controlled ABFP Income Fund 3 at all times it is or was active.

               Response: Defendant admits only that he is the sole member of ABFP Income

               Fund 3. Otherwise denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

               term “controlled” as being overly broad, vague, and undefined.

          2. Admit that ABFP Income Fund 3 offered and sold promissory notes to investors.



  1
   Plaintiff mis-numbers its Requests in the Second Request for Admissions, therefore, for clarity, we re-number the
  requests staring at “1.”

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              Response: Defendant admits only that ABFP Income Fund 3 offered and sold

              promissory notes to people who purchased such notes.           Otherwise denied.

              Defendant also objects to this Request as the requested admission has absolutely

              no bearing on the matters in the Complaint, the Motion for Temporary

              Restraining Order and Other Relief, nor the Preliminary Injunction Hearing on

              Tuesday August 4, 2020. Further, Defendant objects to the term “investors” as

              being overly broad, vague, and undefined.

         3.       Admit that ABFP Income Fund 3 sent, or caused to be sent, investor funds to Par

  Funding.

              Response: Defendant admits only that ABFP Income Fund 3 used the proceeds

              of its promissory note issuances to purchase promissory notes from PAR Funding.

              Otherwise denied. Defendant also objects to this Request as the requested

              admission has absolutely no bearing on the matters in the Complaint, the Motion

              for Temporary Restraining Order and Other Relief, nor the Preliminary

              Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

              term “investor” as being overly broad, vague, and undefined.

         4.      Admit that the proceeds from the sale of the ABFP Income Fund 3 promissory notes

  were used to purchase promissory notes offered and sold by Complete Business Solutions Group,

  Inc. d/b/a PAR Funding.

              Response: Admitted. Defendant also objects to this Request as the requested

              admission has absolutely no bearing on the matters in the Complaint, the Motion

              for Temporary Restraining Order and Other Relief, nor the Preliminary

              Injunction Hearing on Tuesday August 4, 2020.



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         5.      Admit that ABFP Income Fund 3 and Par Funding received a promissory note from

  Par Funding in exchange for the investor funds ABFP Income Fund 3 sent, or directed to be sent,

  to Par Funding.

              Response: Denied. Defendant also objects to this Request as the requested

              admission has absolutely no bearing on the matters in the Complaint, the Motion

              for Temporary Restraining Order and Other Relief, nor the Preliminary

              Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

              term “investor” as being overly broad, vague, and undefined.

         6. Admit that you controlled ABFP Income Fund 4 at all times it is or was active.

              Response: Defendant admits only that he is the sole member of the Manager of

              ABFP Income Fund 3. Otherwise denied. Defendant also objects to this Request

              as the requested admission has absolutely no bearing on the matters in the

              Complaint, the Motion for Temporary Restraining Order and Other Relief, nor

              the Preliminary Injunction Hearing on Tuesday August 4, 2020. Further,

              Defendant objects to the term “controlled” as being overly broad, vague, and

              undefined.

         7. Admit that ABFP Income Fund 4 offered and sold promissory notes to investors.

              Response: Defendant admits only that ABFP Income Fund 4 offered and sold

              promissory notes to people who purchased such notes.           Otherwise denied.

              Defendant also objects to this Request as the requested admission has absolutely

              no bearing on the matters in the Complaint, the Motion for Temporary

              Restraining Order and Other Relief, nor the Preliminary Injunction Hearing on




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               Tuesday August 4, 2020. Further, Defendant objects to the term “investors” as

               being overly broad, vague, and undefined.

         8.       Admit that ABFP Income Fund 4 sent, or caused to be sent, investor funds to Par

  Funding.

               Response: Defendant admits only that ABFP Income Fund 4 used the proceeds

               of its promissory note issuances to purchase promissory notes from PAR Funding.

               Otherwise denied. Defendant objects to this Request as the requested admission

               has absolutely no bearing on the matters in the Complaint, the Motion for

               Temporary Restraining Order and Other Relief, nor the Preliminary Injunction

               Hearing on Tuesday August 4, 2020. Further, Defendant objects to the term

               “investor” as being overly broad, vague, and undefined.

         9.       Admit that the proceeds from the sale of the ABFP Income Fund 4 promissory notes

  were used to purchase promissory notes offered and sold by Complete Business Solutions Group,

  Inc. d/b/a PAR Funding (“CBSG”).

               Response: Admitted. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         10.      Admit that ABFP Income Fund 4 and Par Funding received a promissory note from

  Par Funding in exchange for the investor funds ABFP Income Fund 3 sent, or directed to be sent,

  to Par Funding.

               Response:   Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion



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              for Temporary Restraining Order and Other Relief, nor the Preliminary

              Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

              term “investor” as being overly broad, vague, and undefined.

        11. Admit that you controlled ABFP Income Fund 5 at all times it is or was active.

              Response: Plaintiff admits only that he was the sole member of the Manager of

              ABFP Income Fund 5, which was never active. Otherwise denied. Defendant also

              objects to this Request as the requested admission has absolutely no bearing on

              the matters in the Complaint, the Motion for Temporary Restraining Order and

              Other Relief, nor the Preliminary Injunction Hearing on Tuesday August 4, 2020.

              Further, Defendant objects to the term “controlled” as being overly broad, vague,

              and undefined.

        12. Admit that ABFP Income Fund 5 offered and sold promissory notes to investors.

              Response: Denied. Defendant also objects to this Request as the requested

              admission has absolutely no bearing on the matters in the Complaint, the Motion

              for Temporary Restraining Order and Other Relief, nor the Preliminary

              Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

              term “investors” as being overly broad, vague, and undefined.

        13.      Admit that ABFP Income Fund 5 sent, or caused to be sent, investor funds to Par

  Funding.

              Response: Denied. Defendant also objects to this Request as the requested

              admission has absolutely no bearing on the matters in the Complaint, the Motion

              for Temporary Restraining Order and Other Relief, nor the Preliminary




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               Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

               term “investor” as being overly broad, vague, and undefined.

         14.      Admit that the proceeds from the sale of the ABFP Income Fund 5 promissory notes

  were used to purchase promissory notes offered and sold by Complete Business Solutions Group,

  Inc. d/b/a PAR Funding (“CBSG”).

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         15.      Admit that ABFP Income Fund 5 and Par Funding received a promissory note from

  Par Funding in exchange for the investor funds ABFP Income Fund 3 sent, or directed to be sent,

  to Par Funding.

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

               term “investor” as being overly broad, vague, and undefined.

         16. Admit that you controlled ABFP Income Fund 6 at all times it is or was active.

               Response: Defendant admits only that he is the sole member of the Manager of

               ABFP Income Fund 6. Otherwise denied. Defendant also objects to this Request

               as the requested admission has absolutely no bearing on the matters in the

               Complaint, the Motion for Temporary Restraining Order and Other Relief, nor

               the Preliminary Injunction Hearing on Tuesday August 4, 2020. Further,



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               Defendant objects to the term “controlled” as being overly broad, vague, and

               undefined.

         17. Admit that ABFP Income Fund 6 offered and sold promissory notes to investors.

               Response: Defendant admits only that ABFP Income Fund 4 offered and sold

               promissory notes to people who purchased such notes.           Otherwise denied.

               Defendant also objects to this Request as the requested admission has absolutely

               no bearing on the matters in the Complaint, the Motion for Temporary

               Restraining Order and Other Relief, nor the Preliminary Injunction Hearing on

               Tuesday August 4, 2020. Further, Defendant objects to the term “investors” as

               being overly broad, vague, and undefined.

         18.      Admit that ABFP Income Fund 6 sent, or caused to be sent, investor funds to Par

  Funding.

               Response: Defendant admits only that ABFP Income Fund 4 used the proceeds

               of its promissory note issuances to purchase promissory notes from PAR Funding.

               Otherwise denied.    Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

               term “investor” as being overly broad, vague, and undefined.

         19.      Admit that the proceeds from the sale of the ABFP Income Fund 6 promissory notes

  were used to purchase promissory notes offered and sold by Complete Business Solutions Group,

  Inc. d/b/a PAR Funding (“CBSG”).




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               Response: Admitted. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         20.      Admit that ABFP Income Fund 6 and Par Funding received a promissory note from

  Par Funding in exchange for the investor funds ABFP Income Fund 3 sent, or directed to be sent,

  to Par Funding.

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

               term “investor” as being overly broad, vague, and undefined.

         21. Admit that you controlled ABFP Income Fund 7 at all times it is or was active.

               Response: Plaintiff admits only that he was the sole member of the Manager of

               ABFP Income Fund 7, which was never active. Otherwise denied. Defendant also

               objects to this Request as the requested admission has absolutely no bearing on

               the matters in the Complaint, the Motion for Temporary Restraining Order and

               Other Relief, nor the Preliminary Injunction Hearing on Tuesday August 4, 2020.

               Further, Defendant objects to the term “controlled” as being overly broad, vague,

               and undefined.

         22. Admit that ABFP Income Fund 7 offered and sold promissory notes to investors.

               Response: Denied. Defendant objects to this Request as the requested admission

               has absolutely no bearing on the matters in the Complaint, the Motion for



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               Temporary Restraining Order and Other Relief, nor the Preliminary Injunction

               Hearing on Tuesday August 4, 2020. Further, Defendant objects to the term

               “investors” as being overly broad, vague, and undefined.

         23.      Admit that ABFP Income Fund 7 sent, or caused to be sent, investor funds to Par

  Funding.

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

               term “investor” as being overly broad, vague, and undefined.

         24.      Admit that the proceeds from the sale of the ABFP Income Fund 7 promissory notes

  were used to purchase promissory notes offered and sold by Complete Business Solutions Group,

  Inc. d/b/a PAR Funding (“CBSG”).

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         25.      Admit that ABFP Income Fund 7 and Par Funding received a promissory note from

  Par Funding in exchange for the investor funds ABFP Income Fund 7 sent, or directed to be sent,

  to Par Funding.

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary



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                Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

                term “investor” as being overly broad, vague, and undefined.

          26.      Admit that Exhibit C is a true and correct copy of the “Supplement to Confidential

   Private Placement Memorandum for the Exchange of Outstanding Promissory Notes for Amended

   and Restated Promissory Notes.”

                Response: Admitted.

          27.      Admit that in April 2020 you emailed, or caused to be sent, Exhibit C to investors

   in ABFP Income Fund.

                Response: Defendant admits only that, in his capacity as sole member of the

                Manager of ABFP Income Fund, he caused Exhibit C to be sent to then-existing

                noteholders in ABFP Income Fund. Otherwise denied.             Further, Defendant

                objects to the term “investors” as being overly broad, vague, and undefined.

          28. Admit that you created, or caused to be created, ABFP Income Fund Parallel, LLC.

                Response: Denied. Defendant also objects to this Request as the requested

                admission has absolutely no bearing on the matters in the Complaint, the Motion

                for Temporary Restraining Order and Other Relief, nor the Preliminary

                Injunction Hearing on Tuesday August 4, 2020.

          29. Admit that ABFP Income Fund Parallel, LLC is a Delaware limited liability company.

                Response: Admitted. Defendant also objects to this Request as the requested

                admission has absolutely no bearing on the matters in the Complaint, the Motion

                for Temporary Restraining Order and Other Relief, nor the Preliminary

                Injunction Hearing on Tuesday August 4, 2020.




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          30.      Admit that ABFP Income Fund Parallel, LLC was organized by ABFP for the

   purposes of completing the exchange of ABFP Income Fund investors’ promissory notes for

   “Restated Notes.”

                Response:    Defendant admits only that ABFP Income Fund Parallel was

                organized for the purpose of completing the exchange offer of Restated Notes

                referenced in Exhibit C. Otherwise denied. Defendant also objects to this Request

                as the requested admission has absolutely no bearing on the matters in the

                Complaint, the Motion for Temporary Restraining Order and Other Relief, nor

                the Preliminary Injunction Hearing on Tuesday August 4, 2020. Further,

                Defendant objects to the term “investors” as being overly broad, vague, and

                undefined.

          31.      Admit that ABFP Income Fund Parallel, LLC was organized by ABFP for the

   purposes of completing the exchange of ABFP Income Fund investors’ promissory notes for

   “Restated Notes.”

                Response:    Defendant admits only that ABFP Income Fund Parallel was

                organized for the purpose of completing the exchange offer of Restated Notes

                referenced in Exhibit C. Otherwise denied. Defendant also objects to this Request

                as the requested admission has absolutely no bearing on the matters in the

                Complaint, the Motion for Temporary Restraining Order and Other Relief, nor

                the Preliminary Injunction Hearing on Tuesday August 4, 2020. Further,

                Defendant objects to the term “investors” as being overly broad, vague, and

                undefined.




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          32.      Admit that ABFP Income Fund and ABFP Income Fund Parallel, LLC entered into

   an “Exchange Agreement” that you executed on behalf of ABFP Income Fund as the “Original

   Issuer” and also executed on behalf of ABFP Income Fund Parallel, LLC as the “Successor Issuer.”

                Response:   Defendant admits only that he executed copies of the Exchange

                Agreement attached to Exhibit C, on page A-6 of the same, in the corporate

                capacities so indicated, and the Exchange Agreement also was required to be

                executed by the respective purchaser of the Restated Notes in order for such

                agreement to be effective and binding. Otherwise denied. Defendant also objects

                to this Request as the requested admission has absolutely no bearing on the

                matters in the Complaint, the Motion for Temporary Restraining Order and

                Other Relief, nor the Preliminary Injunction Hearing on Tuesday August 4, 2020.

          33.      Admit that you agreed on behalf of both ABFP Income Fund and ABFP Income

   Fund Parallel, LLC that ABFP Income Fund would exchange the promissory notes it issued to

   investors for new notes offered and sold by ABFP Income Fund Parallel, LLC., with different rates

   of interest and maturity dates.

                Response:   Defendant admits only that he executed copies of the Exchange

                Agreement attached to Exhibit C, on page A-6 of the same, in the corporate

                capacities so indicated, and the Exchange Agreement also was required to be

                executed by the respective purchaser of the Restated Notes in order for such

                agreement to be effective and binding, and that the Restated Notes had different

                interest rates and maturity dates compared to the Outstanding Notes. Otherwise

                denied. Defendant also objects to this Request as the requested admission has

                absolutely no bearing on the matters in the Complaint, the Motion for Temporary



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                 Restraining Order and Other Relief, nor the Preliminary Injunction Hearing on

                 Tuesday August 4, 2020. Further, Defendant objects to the term “investors” as

                 being overly broad, vague, and undefined.

           34.      Admit that you caused ABFP Income Fund to assign and transfer a portion of the

   Par Funding Notes issued to ABFP Income Fund, as amended, to ABFP Income Fund Parallel,

   LLC.

                 Response:     Defendant admits only that he executed copies of the Exchange

                 Agreement attached to Exhibit C, on page A-6 of the same, in the corporate

                 capacities so indicated, and the Exchange Agreement also was required to be

                 executed by the respective purchaser of the Restated Notes in order for such

                 agreement to be effective and binding, and in connection with those

                 circumstances, ABFP Income Fund assigned and transferred a portion of the

                 Restated CBSG Notes to ABFP Income Fund Parallel.                          Otherwise denied.

                 Defendant also objects to this Request as the requested admission has absolutely

                 no bearing on the matters in the Complaint, the Motion for Temporary

                 Restraining Order and Other Relief, nor the Preliminary Injunction Hearing on

                 Tuesday August 4, 2020.

           35.      Admit that the transfer of Par Funding Notes set forth in Paragraph 762 above was

   for purposes of funding the repayment of the “Restated Notes” ABFP Income Fund Parallel, LLC

   issued to investors.

                 Response: Defendant admits only that the amended and reorganized Restated

                 CBSG Notes referenced in his response to the previous request for admission,


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    Plaintiff refers to “paragraph 76 above” however because Plaintiff has mis numbered her requests, there are
   multiple paragraphs 76.

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                which bore a lower interest rate than the original CBSG Notes prior to such

                amendment, were intended to fund the repayment of the Restated Notes, and that

                they did so up until the SEC filed this lawsuit. Otherwise denied. Defendant also

                objects to this Request as the requested admission has absolutely no bearing on

                the matters in the Complaint, the Motion for Temporary Restraining Order and

                Other Relief, nor the Preliminary Injunction Hearing on Tuesday August 4, 2020.

                Further, Defendant objects to the term “investors” as being overly broad, vague,

                and undefined.

          36.      Admit that the transfer of Par Funding Notes set forth in Paragraph 76 above was

   for purposes of relieving ABFP Income Fund 3 of its obligations to investors under the promissory

   notes ABFP Income Fund issued to investors.

                Response: Denied. Defendant also objects to this Request as the requested

                admission has absolutely no bearing on the matters in the Complaint, the Motion

                for Temporary Restraining Order and Other Relief, nor the Preliminary

                Injunction Hearing on Tuesday August 4, 2020. Further, Defendant objects to the

                term “investors” as being overly broad, vague, and undefined.

          37.      Admit that on behalf of ABFP Income Fund Parallel, LLC, you agreed for ABFP

   Income Fund Parallel, LLC to assume a portion of ABFP Income Fund’s liabilities.

                Response: Denied. Defendant also objects to this Request as the requested

                admission has absolutely no bearing on the matters in the Complaint, the Motion

                for Temporary Restraining Order and Other Relief, nor the Preliminary

                Injunction Hearing on Tuesday August 4, 2020.

          38. Admit that ABFP Income Fund Parallel, LLC has a bank account.



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               Response: Admitted. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         39. Admit that you opened the ABFP Income Fund Parallel, LLC bank account.

               Response: Denied. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         40. Admit that you are a signatory on the ABFP Income Fund Parallel, LLC bank account.

               Response: Admitted. Defendant also objects to this Request as the requested

               admission has absolutely no bearing on the matters in the Complaint, the Motion

               for Temporary Restraining Order and Other Relief, nor the Preliminary

               Injunction Hearing on Tuesday August 4, 2020.

         41. Admit that you control the ABFP Income Fund Parallel, LLC bank account.

               Response: Denied. Defendant objects to this Request as the requested admission

               has absolutely no bearing on the matters in the Complaint, the Motion for

               Temporary Restraining Order and Other Relief, nor the Preliminary Injunction

               Hearing on Tuesday August 4, 2020.

         42.      Admit that ABFP Income Fund Parallel, LLC now holds the Par Funding

   promissory notes, as amended, that were purchased with ABFP Income Fund investor money.

               Response: Defendant admits only that, with respect to such noteholders of ABFP

               Income Fund who executed the Exchange Agreement, ABFP holds the CBSG



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                Notes, as amended and reorganized at a lower interest rate than the original

                CBSG Notes, in the same principal amount as such noteholder held prior to the

                exchange. Otherwise denied. Defendant also objects to this Request as the

                requested admission has absolutely no bearing on the matters in the Complaint,

                the Motion for Temporary Restraining Order and Other Relief, nor the

                Preliminary Injunction Hearing on Tuesday August 4, 2020. Further, Defendant

                objects to the term “investor” as being overly broad, vague, and undefined.

          43.      Admit that you understand from the Motion seeking emergency relief in this case,

   including a Temporary Restraining Order and Asset Freeze, as well as the Complaint and Motion

   appointing a Receiver, that the Securities and Exchange Commission is seeking this emergency

   relief based in part on allegations concerning the “Exchange Offering”.

                Response: Denied.

          44.      Admit that you have been aware of the Court’s Order appointing a Receiver over

   ABFP Management, ABFP, ABFP Income Fund, and ABFP Income Fund 2 by no later than July

   28, 2020.

                Response: Defendant admits only that he became aware of the Court's Order

                appointing a Receiver over ABFP Management, ABFP, ABFP Income Fund, and

                ABFP Income Fund 2 when the Receiver's counsel arrived at his office late in the

                afternoon of July 28, 2020. Otherwise denied.

          45.      Admit that you have been aware since no later than July 30, 2020 that the Court in

   this case entered an asset freeze over ABFP, ABFP Income Fund, ABFP Income Fund 2, and

   ABFP Management.

                Response: Admitted.



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            46.      Admit that you are aware that the Court issued the Asset Freeze set forth in

   paragraph 873 above in order to protect investor proceeds and to ensure the return of investor

   money.

                  Response:    Defendant lacks firsthand knowledge of the Court's mindset in

                  entering this ex parte order that Defendant was not provided an opportunity to

                  address, and therefore denies.

            47.      Admit that you are aware on at least July 31 2020, that the Asset Freeze did not

   effectuate a freeze on the bank account for ABFP Income Fund Parallel, LLC.

                  Response: Denied.

            48.      Admit that you did not tell the Receiver the Asset Freeze did not freeze the ABFP

   Income Fund Parallel, LLC bank account which held investor funds and/or investment returns.

   Admit that you did not tell the S.E.C. the Asset Freeze did not freeze the ABFP Income Fund

   Parallel, LLC bank account which held investor funds and/or investment returns.

                  Response: Denied. Also denied that any such questions were asked of me.

            49.      Admit up to at least July 31, 2020, you intended to use the ABFP Income Fund

   Parallel, LLC bank account to distribute funds in early August 2020.

                  Response: Defendant admits only that, prior to the SEC filing its complaint in

                  this action, he expected that the ABFP Income Fund Parallel bank account would

                  receive its contractually entitled interest payment on the CBSG Notes in early

                  August 2020 and that he intended that ABFP Income Fund Parallel would then

                  promptly remit, in turn, contractually required interest payments to noteholders

                  in ABFP Income Fund Parallel, and that the payment on the CBSG Notes would


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    Plaintiff refers to “paragraph 87 above” however because Plaintiff has mis numbered her requests, there are
   multiple paragraphs 87.

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                    be the sole source available to make interest payments to noteholders in ABFP

                    Income Fund Parallel. Defendant also admits only that, immediately prior to the

                    SEC filing its complaint in this action, the ABFP Income Fund Parallel did not

                    have sufficient funds in its bank account or otherwise to make the August 2020

                    interest payment to its noteholders because the source of such payment would be

                    the expected contractually entitled interest payments on the CBSG Notes, and that

                    the ABFP Income Fund Parallel's cash balance in late July 2020 was minimal.

                    Otherwise denied.

              50.       Admit that the Receiver advised you, through your counsel, that the S.E.C. and

   Receiver viewed the movement of funds set forth in paragraph 85 above as a violation of the Asset

   Freeze Order.

                    Response: Denied. Also denied that there could possibly be any movement of

                    funds as described in my response to the preceding request for admission unless

                    ABFP Income Fund Parallel were to receive its contractually entitled August 2020

                    interest payment on the CBSG Notes, which of course would have benefitted the

                    noteholders rather than harming them.

              51.       Admit that the facts set forth above for the Exchange Offering concerning ABFP

   Income Fund, paragraph 68-864, are true as to ABFP Income Fund 2 and the ABFP Income Parallel

   Fund created for the ABFP Income Fund 2 Exchange Offering.

                    Response: Denied. Defendant also objects to this Request as vague. Further, the

                    requested admission has absolutely no bearing on the matters in the Complaint,




   4
       Because of the mis-numbering of the Requests, it is difficult to ascertain which paragraphs Plaintiff is referring to.

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                  the Motion for Temporary Restraining Order and Other Relief, nor the

                  Preliminary Injunction Hearing on Tuesday August 4, 2020.

            52.      Admit that the facts set forth above for the Exchange Offering concerning ABFP

   Income Fund, paragraph 68-865, are true as to ABFP Income Fund 3 and the ABFP Income Parallel

   Fund that was created for the ABFP Income Fund 2 Exchange Offering.

                  Response: Denied. Defendant also objects to this Request as vague. Further, the

                  requested admission has absolutely no bearing on the matters in the Complaint,

                  the Motion for Temporary Restraining Order and Other Relief, nor the

                  Preliminary Injunction Hearing on Tuesday August 4, 2020.

            53.      Admit that the facts set forth above for the Exchange Offering concerning ABFP

   Income Fund, paragraph 68-866, are true as to ABFP Income Fund 4 and the ABFP Income Parallel

   Fund created for the ABFP Income Fund 2 Exchange Offering.

                  Response: Denied. Defendant also objects to this Request as vague. Further, the

                  requested admission has absolutely no bearing on the matters in the Complaint,

                  the Motion for Temporary Restraining Order and Other Relief, nor the

                  Preliminary Injunction Hearing on Tuesday August 4, 2020.

            54.      Admit that the facts set forth above for the Exchange Offering concerning ABFP

   Income Fund, paragraph 68-867, are true as to ABFP Income Fund 5 and the ABFP Income Parallel

   Fund created for the ABFP Income Fund 2 Exchange Offering.




   5
     Because of the mis-numbering of the Requests, it is difficult to ascertain which paragraphs Plaintiff is referring
   to.
   6
     Because of the mis-numbering of the Requests, it is difficult to ascertain which paragraphs Plaintiff is referring
   to.
   7
     Because of the mis-numbering of the Requests, it is difficult to ascertain which paragraphs Plaintiff is referring
   to.

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                  Response: Denied. Defendant also objects to this Request as vague. Further, the

                  requested admission has absolutely no bearing on the matters in the Complaint,

                  the Motion for Temporary Restraining Order and Other Relief, nor the

                  Preliminary Injunction Hearing on Tuesday August 4, 2020.

            55.      Admit that the facts set forth above for the Exchange Offering concerning ABFP

   Income Fund, paragraph 68-868, are true as to ABFP Income Fund 6 and the ABFP Income Parallel

   Fund created for the ABFP Income Fund 2 Exchange Offering.

                  Response: Denied. Defendant also objects to this Request as vague. Further, the

                  requested admission has absolutely no bearing on the matters in the Complaint,

                  the Motion for Temporary Restraining Order and Other Relief, nor the

                  Preliminary Injunction Hearing on Tuesday August 4, 2020.

            56.      Admit that the facts set forth above for the Exchange Offering concerning ABFP

   Income Fund, paragraph 68-86, are true as to ABFP Income Fund 7 and the ABFP Income Parallel

   Fund created for the ABFP Income Fund 2 Exchange Offering.

                  Response: Denied. Defendant also objects to this Request as vague. Further, the

                  requested admission has absolutely no bearing on the matters in the Complaint,

                  the Motion for Temporary Restraining Order and Other Relief, nor the

                  Preliminary Injunction Hearing on Tuesday August 4, 2020.

            57.      Admit that as of July 31, 2020, you continue to control the ABFP Income Parallel

   Fund associated with each of the ABFP Income Fund entities.

                  Response: Defendant admits only that he is the sole member of the Manager of

                  ABFP Income Fund Parallel, ABFP Income Fund 3 Parallel, ABFP Income Fund


   8
     Because of the mis-numbering of the Requests, it is difficult to ascertain which paragraphs Plaintiff is referring
   to.

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            4 Parallel, and ABFP Income Fund 6 Parallel. Otherwise denied. Defendant also

            objects to this Request as vague. Further, the requested admission has absolutely

            no bearing on the matters in the Complaint, the Motion for Temporary

            Restraining Order and Other Relief, nor the Preliminary Injunction Hearing on

            Tuesday August 4, 2020. Further, Defendant objects to the term “control” as being

            overly broad, vague, and undefined.

         Dated: August 3, 2020

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                                           98 Southeast Seventh Street
                                           Miami, Florida 33131
                                           Telephone: (305) 374-5600
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                                               Attorneys for Dean Vagnozzi




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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing Specially Appearing

   Defendant Dean Vagnozzi's Response to Securities and Exchange Commission’s Second Request

   for Admissions was served electronically this 3rd day of August, 2020 to:


    Amie Riggle Berlin                               Daniel Fridman
    Securities and Exchange Commission               Fridman Fels & Soto, PLLC
    801 Brickell Avenue, Suite 1800                  2525 Ponce de Leon Blvd., Suite 750
    Miami, FL 33131                                  Coral Gables, FL 33134
    Direct: 305-982-6322                             Tel: 305-569-7720
    Tel: 305-982-6300                                Fax: 786-627-4145
    Fax: 305-536-4154                                Email: dfridman@ffslawfirm.com
    Email: berlina@sec.gov                           Secondary: ypantin@ffslawfirm.com

    Attorney for Plaintiff                           James R. Froccaro, Jr.
                                                     20 Vanderventer Avenue, Suite 103W
                                                     Port Washington, NY 11050
                                                     Tel: 516-944-5062
                                                     Email: jrfresq61@aol.com

                                                     Attorneys for Defendant Joseph W. LaForte

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                                                     Email: afoslid@sfslaw.com
    Alex L. Braunstein
    Fox Rothschild LLP                               Attorneys for Receiver, Ryan K. Stumphauzer,
    777 S. Flagler Drive, Suite 1700 West Tower      court-appointed receiver over Defendants
    West Palm Beach, FL 33401                        Complete Business Solutions Group, Inc. d/b/a
    Tel: 561-804-4497                                Par Funding; Full Spectrum Processing, Inc.;
    Email: ABraunstein@FoxRothschild.com             ABetterFinancialPlan.com LLC d/b/a Better
                                                     Financial Plan; ABFP Management Company,
    Attorneys for Complete Business Solutions        LLC f/k/a Pillar Life Settlement Management
    Group, Inc., d/b/a Par Funding, Full             Company, LLC; ABFP Income Fund LLC;

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    Spectrum Processing, Inc., Lisa McElhone,     ABFP Income Fund 2, L.P.; United Fidelis
    Joseph Cole Barleta and Joseph W. LaForte     Group Corp.,; Fidelis Financial Planning
    and relief defendant L.M.E. 2017 Family       LLC; Retirement Evolution Group, LLC; RE
    Trust                                         Income Fund LLC; and RE Income Fund 2
                                                  LLC

    Joel Hirschhorn                               Gaetan J. Alfano
    GrayRobinson, P.A.                            Douglas K. Rosenblum
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    Family Trust
                                                  Attorney for Receiver, Ryan K. Stumphauzer

    Daniel I. Small                               Jeff Marcus
    Allison Kernisky                              Daniel L. Rashbaum
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    Evolution Group, LLC, Retirement Evolution    Attorneys for Defendant Perry S. Abbonizio
    Income Fund, LLC f/k/a RE Income Fund
    LLC and RE Income Fund 2, LLC

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    Fax: 561-989-9020
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    Attorneys for Defendant Michael C. Furman

                                                      /s/ Brian P. Miller
                                                      Attorney


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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 9:20-cv-81205-RAR

   SECURITIES AND EXCHANGE COMMISSION,

                                 Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS GROUP,
     INC. d/b/a/ PAR FUNDING, et al.,

                           Defendants.
   ____________________________________________/

                SPECIALLY APPEARING DEFENDANT DEAN VAGNOZZI'S
               RESPONSE TO SECURITIES AND EXCHANGE COMMISSION’S
                     SECOND REQUEST FOR INTERROGATORIES

          Specially appearing Defendant DEAN VAGNOZZI (hereinafter “Defendant”), by and

   through his undersigned counsel, hereby responds to Plaintiff SECURITIES AND EXCHANGE

   COMMISSION’S (“Plaintiff”) Second Request for Interrogatories (the “Request”) as follows:

                          GENERAL STATEMENT AND OBJECTIONS

          1.      Defendant objects to the Request for lack of due process under the United States

   Constitution. The Court has imposed a two-calendar day response deadline without having

   provided Defendant any notice or opportunity to contest expedited discovery. This violates the

   Federal Rules of Civil Procedure and the United States Constitution. Defendant has not had

   adequate time to investigate his responses to the Request, which violates his Constitutional rights.

   Moreover, Defendant's counsel only appeared in this action the day prior to service of the Request,

   and has not had adequate time to investigate the allegations and the Interrogatory in order to

   properly advise Defendant on his responses, which further violates Defendant's Constitutional
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   rights. To the extent this Request is attempted to be used in any criminal prosecution, the

   circumstances of the Request further deny Defendant his right to effective assistance of counsel

   under the United States Constitution.

          2.      In responding to this Request, Defendant does not concede the information

   requested is relevant to the subject matter of this litigation or reasonably calculated to lead to the

   discovery of admissible evidence. Any response, in whole or in part, to the Request is not intended

   to be, and should not be construed as, a waiver by Defendant of all or any part of any objection.

   Defendant reserves the right to object, and hereby gives notice of its intent to object, to the

   admissibility into any information disclosed herein.

          3.      Defendant objects to the Request to the extent that it seeks to impose obligations

   that exceed, or are different from, those imposed by the Federal Rules of Civil Procedure and the

   Local Rules of the United States District Court for the Southern District of Florida.

          4.      Defendant objects to the Request to the extent it calls for the disclosure of

   information that is not in Defendant's possession, custody, or control, or that is not ascertainable

   after a reasonably diligent search.

          5.      Defendant reserves the right to supplement its responses as more information is

   available.

          6.      Defendant objects to the Request to the extent it seeks information that is not

   relevant to the issues in the pending action or reasonably calculated to lead to the discovery of

   admissible evidence supporting the claims in this proceeding.

          7.      Defendant objects to the Request to the extent it is, in whole or part, vague or

   ambiguous, duplicative, harassing, overbroad, or unduly burdensome, not restricted by time or




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   subject matter, in that the burdens imposed by responding to the Request clearly outweighs any

   potential value to Plaintiff of the response.

           8.      Defendant objects to the Request to the extent it seeks information that is subject

   to the attorney-client privilege, the attorney work product immunity doctrine, or any other

   applicable privilege or doctrine. Any inadvertent disclosure of such information shall not be

   deemed a waiver of the attorney-client privilege, the attorney work product immunity doctrine, or

   any other applicable privilege or doctrine.

           9.      Defendant objects to the Request to the extent it seeks information constituting

   trade secrets or other financial, strategic, confidential, proprietary, or otherwise highly sensitive

   commercial or personal information without protective measures necessary to prevent disclosure.

           10.     No incidental or implied admissions are intended by the, or shall be inferred from,

   response to the Request. That Defendant has responded to any Request is not intended to be, and

   shall not be construed as, a waiver by Defendant of any part of any General or specific objection.

   Nor shall such a response be construed as a waiver of any argument, whether or not as of yet

   asserted, in support of judgment in favor of Defendant.

           11.     Defendant objects to the Request insofar as it contains misstatements of fact and

   inaccurate assumptions. Nothing in the response shall be construed as constituting or implying an

   admission of any allegation or agreement with any assertion or characterization in the Request.

           12.     Defendant objects to the Request to the extent it seek information that would require

   the production of information that include private consumer, banking, and financial information

   protected by various state and federal privacy laws.

           13.     Defendant incorporates each of these General Objections into the specific responses

   below as if fully set forth therein.



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           14.       Without waiver of any of the foregoing general objections, Defendant responds and

   specifically objects to Plaintiff’s Request as follows:

            RESPONSE AND OBJECTION TO INDIVIDUAL INTERROGATORIES


   For each of ABFP Income Fund 1, ABFP Income Fund 2, ABFP Income Fund 3, ABFP Income

   Fund 4, ABFP Income Fund 5, ABFP Income Fund 6, and ABFP Income Fund 7, state:


                 •   2(a)   Whether or not the promissory notes (or, for ABFP Income Fund 2, limited

   partnership interests) offered and sold to investors was exchanged for a replacement note offering

   a lower interest rate.

           Response:        Defendant objects to this interrogatory on the grounds that the

           interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of

           the Complaint nor Securities and Exchange Commission’s Emergency Ex Parte

           Motion for Temporary Restraining Order and Other Relief. Particularly, this

           interrogatory is irrelevant and disproportionate for purposes of the August 4, 2020

           Preliminary Injunction Hearing. This interrogatory also seeks information, which is

           irrelevant and disproportionate to the claims or defenses of this action. Defendant

           further objects to this interrogatory to the extent that it seeks information that is not

           in the Defendant’s possession, custody, or control. Currently, information that would

           be necessary to respond to this interrogatory are subject to the Court's receivership.

           Defendant has no access to his office in order to retrieve the information as a result

           of the Court's receivership. Specifically, the Receiver’s letter to Defendant, attached

           hereto as “Exhibit A”, directs Defendant to: (1)“[r]efrain from attempting to access

           the premises of ABetterFinancialPlan.com”; (2) “Immediately turn over to me any

           and all objects, assets or documents, including, but not limited to, any devices,

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          writings, client or investor files and documents, ESI, invoices, and bank records

          pertaining to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other

          Receivership Entities that are within your possession”; (3) refrain from accessing

          “bank accounts, email accounts, or other electronic media pertaining to

          ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

          Entities”; and (4) refrain from “directly or indirectly taking any action, or causing

          any action to be taken, without the express written agreement of the Receiver that

          interferes with or hinders the Receiver’s efforts to take control, possession, or

          management of any accounts belonging to the Receivership Entities.”         Further,

          Defendant objects to the term “investors” as being overly broad, vague, and

          undefined. Subject to and without waiving the foregoing objections, Defendant states

          that ABFP Income Fund 1, ABFP Income Fund 3, ABFP Income Fund 4, and ABFP

          Income Fund 6 conducted an exchange offer in or about April 2020, which is now

          completed.    ABFP Income Fund 2, ABFP Income Fund 5 (which never had

          operations), and ABFP Income Fund 7 (which never had operations) did not conduct

          such an exchange offer.

          •      2(b)   The name of the entity offering the replacement note to investors (for

   example, for ABFP Income Fund: ABFP Income Fund Parallel.

          Response: Defendant objects to this interrogatory on the grounds that the

   interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of the

   Complaint nor Securities and Exchange Commission’s Emergency Ex Parte Motion for

   Temporary Restraining Order and Other Relief. Particularly, this interrogatory is irrelevant

   and disproportionate for purposes of the August 4, 2020 Preliminary Injunction Hearing.



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   This interrogatory also seeks information, which is irrelevant and disproportionate to the

   claims or defenses of this action. Defendant further objects to this interrogatory to the extent

   that it seeks information that is not in the Defendant’s possession, custody, or control.

   Currently, information that would be necessary to respond to this interrogatory are subject

   to the Court's receivership. Defendant has no access to his office in order to retrieve the

   information as a result of the Court's receivership. Specifically, the Receiver’s letter to

   Defendant, attached hereto as “Exhibit A”, directs Defendant to: (1)“[r]efrain from

   attempting to access the premises of ABetterFinancialPlan.com”; (2) “Immediately turn over

   to me any and all objects, assets or documents, including, but not limited to, any devices,

   writings, client or investor files and documents, ESI, invoices, and bank records pertaining

   to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

   Entities that are within your possession”; (3) refrain from accessing “bank accounts, email

   accounts, or other electronic media pertaining to ABetterFinancialPlan.com d/b/a A Better

   Financial Plan, or any other Receivership Entities”; and (4) refrain from “directly or

   indirectly taking any action, or causing any action to be taken, without the express written

   agreement of the Receiver that interferes with or hinders the Receiver’s efforts to take

   control, possession, or management of any accounts belonging to the Receivership Entities.”

   Further, Defendant objects to the term “investors” as being overly broad, vague, and

   undefined. Subject to and without waiving the foregoing objections, Defendant states that

   ABFP Income Fund 1 conducted an exchange offer into ABFP Income Fund 1 Parallel,

   ABFP Income Fund 3 conducted an exchange offer into ABFP Income Fund 3 Parallel,

   ABFP Income Fund 4 conducted an exchange offer into ABFP Income Fund 4 Parallel, and

   ABFP Income Fund 6 conducted an exchange offer into ABFP Income Fund 6 Parallel.



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          •      2(c)    The name of the person who runs or controls the entity that offered the

   replacement note.

          Response: Defendant objects to this interrogatory on the grounds that the

   interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of the

   Complaint nor Securities and Exchange Commission’s Emergency Ex Parte Motion for

   Temporary Restraining Order and Other Relief. Particularly, this interrogatory is irrelevant

   and disproportionate for purposes of the August 4, 2020 Preliminary Injunction Hearing.

   This interrogatory also seeks information, which is irrelevant and disproportionate to the

   claims or defenses of this action. Defendant further objects to this interrogatory to the extent

   that it seeks information that is not in the Defendant’s possession, custody, or control.

   Currently, information that would be necessary to respond to this interrogatory are subject

   to the Court's receivership. Defendant has no access to his office in order to retrieve the

   information as a result of the Court's receivership. Specifically, the Receiver’s letter to

   Defendant, attached hereto as “Exhibit A”, directs Defendant to: (1)“[r]efrain from

   attempting to access the premises of ABetterFinancialPlan.com”; (2) “Immediately turn over

   to me any and all objects, assets or documents, including, but not limited to, any devices,

   writings, client or investor files and documents, ESI, invoices, and bank records pertaining

   to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

   Entities that are within your possession”; (3) refrain from accessing “bank accounts, email

   accounts, or other electronic media pertaining to ABetterFinancialPlan.com d/b/a A Better

   Financial Plan, or any other Receivership Entities”; and (4) refrain from “directly or

   indirectly taking any action, or causing any action to be taken, without the express written

   agreement of the Receiver that interferes with or hinders the Receiver’s efforts to take



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   control, possession, or management of any accounts belonging to the Receivership Entities.”

   Further, Defendant objects to the term “controls” as being overly broad, vague, and

   undefined. Subject to and without waiving the foregoing objections, Defendant states that

   all of the entities referenced above in the response to No. 2(b) that conducted an exchange

   offer in or about April 2020 are LLC's whose Manager is ABFP Management Company

   LLC.

          •      2(d)    The name of each bank where the entity that offered the replacement note

   has a bank account.

          Response: Defendant objects to this interrogatory on the grounds that the

   interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of the

   Complaint nor Securities and Exchange Commission’s Emergency Ex Parte Motion for

   Temporary Restraining Order and Other Relief. Particularly, this Interrogatory is

   irrelevant and disproportionate for purposes of the August 4, 2020 Preliminary Injunction

   Hearing.       This interrogatory also seeks information, which is irrelevant and

   disproportionate to the claims or defenses of this action. Defendant further objects to this

   interrogatory to the extent that it seeks information that is not in the Defendant’s possession,

   custody, or control. Currently, bank records that would be necessary to respond to this

   interrogatory are subject to the Court's receivership. Defendant has no access to his office

   in order to retrieve the information as a result of the Court's receivership. Specifically, the

   Receiver’s letter to Defendant, attached hereto as “Exhibit A”, directs Defendant to:

   (1)“[r]efrain from attempting to access the premises of ABetterFinancialPlan.com”; (2)

   “Immediately turn over to me any and all objects, assets or documents, including, but not

   limited to, any devices, writings, client or investor files and documents, ESI, invoices, and



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   bank records pertaining to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any

   other Receivership Entities that are within your possession”; (3) refrain from accessing

   “bank       accounts,   email   accounts,    or       other   electronic   media   pertaining   to

   ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

   Entities”; and (4) refrain from “directly or indirectly taking any action, or causing any action

   to be taken, without the express written agreement of the Receiver that interferes with or

   hinders the Receiver’s efforts to take control, possession, or management of any accounts

   belonging to the Receivership Entities.” Subject to and without waiving the foregoing

   objections, Defendant states that all of the entities referenced above in the response to No.

   2(b) that conducted an exchange offer in or about April 2020 have separate bank accounts

   at Citizens Bank.

           •       2(e)    The amount of interest and principal owed to investors by the entity that

   offered the replacement note.

           Response: Defendant objects to this interrogatory on the grounds that the

   interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of the

   Complaint nor Securities and Exchange Commission’s Emergency Ex Parte Motion for

   Temporary Restraining Order and Other Relief. Particularly, this interrogatory is irrelevant

   and disproportionate for purposes of the August 4, 2020 Preliminary Injunction Hearing.

   This interrogatory also seeks information, which is irrelevant and disproportionate to the

   claims or defenses of this action. Defendant further objects to this interrogatory to the extent

   that it seeks information that is not in the Defendant’s possession, custody, or control.

   Currently, information that would be necessary to respond to this Request are subject to the

   Court's receivership.      Defendant has no access to his office in order to retrieve the



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   information as a result of the Court's receivership. Specifically, the Receiver’s letter to

   Defendant, attached hereto as “Exhibit A”, directs Defendant to: (1)“[r]efrain from

   attempting to access the premises of ABetterFinancialPlan.com”; (2) “Immediately turn over

   to me any and all objects, assets or documents, including, but not limited to, any devices,

   writings, client or investor files and documents, ESI, invoices, and bank records pertaining

   to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

   Entities that are within your possession”; (3) refrain from accessing “bank accounts, email

   accounts, or other electronic media pertaining to ABetterFinancialPlan.com d/b/a A Better

   Financial Plan, or any other Receivership Entities”; and (4) refrain from “directly or

   indirectly taking any action, or causing any action to be taken, without the express written

   agreement of the Receiver that interferes with or hinders the Receiver’s efforts to take

   control, possession, or management of any accounts belonging to the Receivership Entities.”

   Further, Defendant objects to the term “investors” as being overly broad, vague, and

   undefined. Lastly, Defendant generally objects to this Request for the reason it imposes a

   burden and expense on Defendant which outweighs any potential benefit. Subject to and

   without waiving the foregoing objections, Defendant states that the principal amounts of

   notes issued by the entities referenced above in the response to No. 2(b) that conducted an

   exchange offer in or about April 2020 varies, but that the interest rate on the notes issued by

   such entities in the exchange offer is 4%.

          •      2(f)           Expenditures the entity offering the replacement note has made

   since March 1, 2020.

          Response: Defendant objects to this interrogatory on the grounds that the

   interrogatory is overbroad in scope, ambiguous, and not limited to the timeframe of the



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   Complaint nor Securities and Exchange Commission’s Emergency Ex Parte Motion for

   Temporary Restraining Order and Other Relief. Particularly, this interrogatory is irrelevant

   and disproportionate for purposes of the August 4, 2020 Preliminary Injunction Hearing.

   This interrogatory also seeks information, which is irrelevant and disproportionate to the

   claims or defenses of this action. Defendant further objects to this interrogatory to the extent

   that it seeks information that is not in the Defendant’s possession, custody, or control.

   Currently, bank records that would be necessary to respond to this interrogatory are subject

   to the Court's receivership. Defendant has no access to his office in order to retrieve the

   information as a result of the Court's receivership. Specifically, the Receiver’s letter to

   Defendant, attached hereto as “Exhibit A”, directs Defendant to: (1)“[r]efrain from

   attempting to access the premises of ABetterFinancialPlan.com”; (2) “Immediately turn over

   to me any and all objects, assets or documents, including, but not limited to, any devices,

   writings, client or investor files and documents, ESI, invoices, and bank records pertaining

   to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other Receivership

   Entities that are within your possession”; (3) refrain from accessing “bank accounts, email

   accounts, or other electronic media pertaining to ABetterFinancialPlan.com d/b/a A Better

   Financial Plan, or any other Receivership Entities”; and (4) refrain from “directly or

   indirectly taking any action, or causing any action to be taken, without the express written

   agreement of the Receiver that interferes with or hinders the Receiver’s efforts to take

   control, possession, or management of any accounts belonging to the Receivership Entities.”

   Lastly, Defendant generally objects to this interrogatory for the reason it imposes a burden

   and expense on Defendant which outweighs any potential benefit. Subject to and without

   waiving the foregoing objections, Defendant states he does not have details on amounts



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   Dated: August 3, 2020

                                                AKERMAN LLP
                                                Three Brickell City Centre, Suite 1100
                                                98 Southeast Seventh Street
                                                Miami, Florida 33131
                                                Telephone: (305) 374-5600
                                                Facsimile: (305) 374-5095

                                                By: /s/ Brian P. Miller
                                                   Brian P. Miller, Esq.
                                                   Florida Bar No. 980633
                                                   E-mail: brian.miller@akerman.com
                                                   E-mail: Kelly.connolly@akerman.com
                                                   Alejandro J. Paz, Esq.
                                                   Florida Bar No. 1011728
                                                   E-mail: Alejandro.paz@akerman.com
                                                   Secondary: marylin.herrera@akerman.com

                                                    Attorneys for Dean Vagnozzi


                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing Specially Appearing

   Defendant Dean Vagnozzi's Response to Securities and Exchange Commission’s Second Request

   for Interrogatories was served electronically this 3rd day of August, 2020 to:


    Amie Riggle Berlin                               Daniel Fridman
    Securities and Exchange Commission               Fridman Fels & Soto, PLLC
    801 Brickell Avenue, Suite 1800                  2525 Ponce de Leon Blvd., Suite 750
    Miami, FL 33131                                  Coral Gables, FL 33134
    Direct: 305-982-6322                             Tel: 305-569-7720
    Tel: 305-982-6300                                Fax: 786-627-4145
    Fax: 305-536-4154                                Email: dfridman@ffslawfirm.com
    Email: berlina@sec.gov                           Secondary: ypantin@ffslawfirm.com

    Attorney for Plaintiff                           James R. Froccaro, Jr.
                                                     20 Vanderventer Avenue, Suite 103W
                                                     Port Washington, NY 11050
                                                     Tel: 516-944-5062
                                                     Email: jrfresq61@aol.com

                                                     Attorneys for Defendant Joseph W. LaForte

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    Joseph A. DeMaria                              Ryan K. Stumphauzer
    Robert F. Elgidely                             Timothy A. Kolaya
    Fox Rothschild LLP                             Adam M. Foslid
    One Biscayne Tower, Suite 2750                 Stumphauzer Foslid Sloman Ross & Kolaya,
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    Miami, FL 33131                                Two South Biscayne Blvd., Suite 1600
    Tel: 305-442-6547                              Miami, FL 33131
    Email: JDeMaria@FoxRothschild.com              Tel: 305-614-1400
    Email: Relgidely@FoxRothschild.com             Fax: 305-614-1425
    Secondary: mmiller-                            Email: afoslid@sfslaw.com
    hayle@foxrothschild.com                        Email: tkolaya@sfslaw.com
                                                   Email: afoslid@sfslaw.com
    Alex L. Braunstein
    Fox Rothschild LLP                             Attorneys for Receiver, Ryan K. Stumphauzer,
    777 S. Flagler Drive, Suite 1700 West Tower    court-appointed receiver over Defendants
    West Palm Beach, FL 33401                      Complete Business Solutions Group, Inc. d/b/a
    Tel: 561-804-4497                              Par Funding; Full Spectrum Processing, Inc.;
    Email: ABraunstein@FoxRothschild.com           ABetterFinancialPlan.com LLC d/b/a A Better
                                                   Financial Plan; ABFP Management Company,
    Attorneys for Complete Business Solutions      LLC f/k/a Pillar Life Settlement Management
    Group, Inc., d/b/a Par Funding, Full           Company, LLC; ABFP Income Fund LLC;
    Spectrum Processing, Inc., Lisa McElhone,      ABFP Income Fund 2, L.P.; United Fidelis
    Joseph Cole Barleta and Joseph W. LaForte      Group Corp.,; Fidelis Financial Planning
    and relief defendant L.M.E. 2017 Family        LLC; Retirement Evolution Group, LLC; RE
    Trust                                          Income Fund LLC; and RE Income Fund 2
                                                   LLC

    Joel Hirschhorn                                Gaetan J. Alfano
    GrayRobinson, P.A.                             Doulgas K. Rosenblum
    333 SE 2nd Avenue, Suite 3200                  Pietragallo Godon Alfano Bosick & Raspanti,
    Miami, FL 33131                                LLP
    Tel: 305-416-6880                              1818 Market Street, Suite 3402
    Fax: 305-416-6887                              Phaladelphia, PA 19103
    Email: joel.hirschhorn@gray-robinson.com       Tel: 215-320-6200
                                                   Email: GJA@pietragallo.com
    Attorneys for Relief Defendant L.M.E. 2017     Email: DKR@pietragallo.com
    Family Trust
                                                   Attorney for Receiver, Ryan K. Stumphauzer

    Daniel I. Small                                Jeff Marcus
    Allison Kernisky                               Daniel L. Rashbaum
    Holland & Knight LLP                           Jason L. Mays
    701 Bickell Avenue, Suite 3300                 Marcus Neiman Rashbaum & Pineiro LLP
    Miami, FL 33131                                2 South Biscayne Blvd., Suite 1750
    Tel: 305-374-8500                              Miami, FL 33131

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    Email: Allison.Kernisky@hklaw.com             Email: drashbaum@mnrlawfirm.com
                                                  Email: jmays@mnrlawfirm.com
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    Evolution Group, LLC, Retirement Evolution    Attorneys for Defendant Perry S. Abbonizio
    Income Fund, LLC f/k/a RE Income Fund
    LLC and RE Income Fund 2, LLC

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    Fax: 561-989-9020
    Email: jcox@sallahlaw.com

    Attorneys for Defendant Michael C. Furman

                                                      /s/ Brian P. Miller
                                                      Attorney




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         Ryan K. Stumphauzer
         Telephone: 305. 614. 1400
         rstumphauzer@sfslaw.com

                                                                                                        July 31, 2020
           VIA EMAIL AND FEDERAL EXPRESS

           Dean J. Vagnozzi
           c/o Brian Miller, Esq.
           Akerman LLP
           Three Brickell City Centre
           98 Southeast Seventh Street
           Suite 1100
           Miami, FL 33131
           brian.miller@akerman.com


                        Re:          SEC v. CBSG., et al, No. 20-CIV-81205 (S.D. Fla.)

           Dear Mr. Vagnozzi,

                   In light of a preliminary injunction entered on July 28, 2020 by the Honorable Rodolfo A.
           Ruiz in the United States District Court for the Southern District of Florida, I am writing this letter
           to direct you to preserve all documents, assets and electronically-stored information (ESI) relating
           to ABetterFinancialPlan.com d/b/a A Better Financial Plan.

                   On July 27, 2020, Judge Ruiz appointed me as Receiver in the above-referenced case. I
           am enclosing with this letter a copy of the Order Granting Plaintiff Securities and Exchange
           Commission’s Motion for Appointment of Receiver (“the Receivership Order”), along with a copy
           of the Order Granting Emergency Ex Parte Motion for Temporary Restraining Order and Other
           Relief (the “Order Granting TRO”), which was entered on July 28, 2020.

                   The Receiver appointment relates to the following entities: Complete Business Solutions
           Group, Inc. d/b/a Par Funding, Full Spectrum Processing, Inc., ABetterFinancialPlan.com LLC
           d/b/a A Better Financial Plan, ABFP Management Company, LLC f/k/a Pillar Life Settlement
           Management Company, LLC, ABFP Income Fund, LLC, ABFP Income Fund 2, L.P., United
           Fidelis Group Corp., Fidelis Financial Planning LLC, Retirement Evolution Group, LLC, RE
           Income Fund LLC, and RE Income Fund 2 LLC (the “Receivership Entities”).

                   Pursuant to the Receivership Order, the Receiver has been directed by the United States
           District Court for the Southern District of Florida to take possession of and safeguard all property
           and assets of the Receivership entities, including all ESI and accounts, immediately upon the Court
           granting a temporary restraining order.

                  I understand that you are affiliated with ABetterFinancialPlan.com d/b/a A Better Financial
           Plan. Accordingly, I am writing to direct you to:



TWO S. BISCAYNE BOULEVARD, SUITE 2550 | MIAMI, FL 33131 | T + 1 305. 614. 1400 | F + 1 305. 614. 1425
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   _______________________________________


              •   Refrain from attempting to access the premises of ABetterFinancialPlan.com d/b/a
                  A Better Financial Plan, located at 234 Mall Blvd, Suite 270 King of Prussia, PA
                  19406-2940;

              •   Immediately turn over to me any and all objects, assets or documents, including,
                  but not limited to, any devices, writings, client or investor files and documents, ESI,
                  invoices, and bank records pertaining to ABetterFinancialPlan.com d/b/a A Better
                  Financial Plan, or any other Receivership Entities that are within your possession;

              •   Do not destroy or tamper with any objects, assets or documents, including, but not
                  limited to, any devices, writings, client or investor files and documents, ESI,
                  invoices or bank records relating to ABetterFinancialPlan.com d/b/a A Better
                  Financial Plan, or any other Receivership Entities; and

              •   Do not access any bank accounts, email accounts, or other electronic media
                  pertaining to ABetterFinancialPlan.com d/b/a A Better Financial Plan, or any other
                  Receivership Entities.

           Please be advised that pursuant to the Receivership Order you are hereby restrained and
   enjoined from directly or indirectly taking any action, or causing any action to be taken, without
   the express written agreement of the Receiver that interferes with or hinders the Receiver’s efforts
   to take control, possession, or management of any accounts belonging to the Receivership Entities.
   Please contact me at rstumphauzer@sfslaw.com if you have any questions or concerns.

                                                                 Sincerely,


                                                                 ___________________________
                                                                 Ryan K. Stumphauzer, Esq.


   Enclosures: Receivership Order, Order Granting TRO
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 20-CIV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.,

         Defendants.
   _______________________________/

        ORDER GRANTING PLAINTIFF’S URGENT MOTION TO AMEND ORDER
          APPOINTING RECEIVER TO INCLUDE LITIGATION INJUNCTION

          THIS CAUSE comes before the Court upon Plaintiff Securities and Exchange

   Commission’s (“Commission”) Urgent Motion to Amend Order Appointing Receiver to Include

   Litigation Injunction [ECF No. 48] (“Motion”), filed on July 31, 2020. In the Motion, Plaintiff

   seeks to amend the Court’s Order Granting Plaintiff Securities and Exchange Commission’s

   Motion for Appointment of Receiver [ECF No. 36] (“Order Appointing Receiver”), entered on

   July 27, 2020.

          Specifically, Plaintiff seeks to amend the Order Appointing Receiver to include a litigation

   injunction in all cases and proceedings to which the following entities are a party: Complete

   Business Solutions Group, Inc. d/b/a Par Funding (“Par Funding”), Full Spectrum Processing, Inc.,

   ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”), ABFP Management

   Company, LLC f/k/a Pillar Life Settlement Management Company, LLC (“ABFP Management”),

   ABFP Income Fund, LLC, ABFP Income Fund 2, L.P., United Fidelis Group Corp., Fidelis

   Financial Planning LLC, Retirement Evolution Group, LLC, RE Income Fund LLC, and RE


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   Income Fund 2 LLC (collectively, the “Receivership Entities”). The Receiver agrees with and

   joins in the request for this relief. For the reasons set forth in the Motion, it is hereby

            ORDERED AND ADJUDGED that Plaintiff Securities and Exchange Commission’s

    Motion to Amend Order Appointing Receiver to Include Litigation Injunction [ECF No. 48] is

    GRANTED.

            The Receiver, Ryan Stumphauzer, is authorized, empowered, and directed as follows

    until further Order of the Court:

            1.     To take custody, control, and possession of all Receivership Entity records,

    documents, and materials, and to safeguard these items until further Order of the Court;

            2.     To secure and safeguard the Receivership Entities’ information technology, data,

    documents, storage systems, and documents, including by making contact with any third-party

    vendors, such as movers and information technology personnel, to assist in this process;

            3.     To engage and employ persons in his discretion to assist him in carrying out his

    duties and responsibilities hereunder, including, but not limited to, accountants, lawyers, and

    paralegals (“Retained Personnel”);

            4.     To take any other action as necessary and appropriate for the preservation of the

    Receivership Entities’ property interests or to prevent the dissipation or concealment of such

    property interests; and

            5.     To take such other action as may be approved by this Court.

            6.     Additionally, the Receiver shall promptly give notice of his appointment to all

    known officers, directors, agents, employees, shareholders, creditors, debtors, managers, and

    general and limited partners of each Receivership Entity, as the Receiver deems necessary or

    advisable to effectuate the operation of the receivership.



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            7.    In furtherance of his responsibilities in this matter, the Receiver is authorized to

    communicate with, and/or serve this Order upon, any person, entity or government office that he

    deems appropriate to inform them of the status of this matter and the Receiver’s appointment.

            8.    The Receiver and Retained Personnel are entitled to reasonable compensation and

    expense reimbursement from the Receivership Entities’ estates. The Receiver shall seek the

    Court’s approval by filing a Motion for the reimbursement of expenses and compensation for

    time spent on the matters set forth herein.

            9.    The Receivership Entities and all persons receiving notice of this Order shall not

    hinder or interfere with the Receiver’s efforts to take control or possession of the Receivership

    Entities’ property interests identified above or hinder his efforts to preserve them.

                                        STAY OF LITIGATION

            “[W]hile it should be sparsely exercised, district courts possess the authority and

    discretion to enter anti-litigation orders” in the context of a Securities and Exchange Commission

    receivership. Sec. & Exch. Comm’n v. Byers, 609 F.3d 87, 89 (2d Cir. 2010); see also Sec. &

    Exch. Comm’n v. Onix Capital, LLC, No. 16-24678-CIV, 2017 WL 6728814, at *4 (S.D. Fla.

    Jul. 24, 2017) (“That the receivership is not ‘substantially underway’ is not a compelling factor

    to lift a stay against litigation when balanced against the Receiver’s interest in preventing

    ancillary litigation during the early stages of the receivership.”); Liberte Capital Grp., LLC v.

    Capwill, 462 F.3d 543, 551 (6th Cir. 2006) (“[T]he receivership court may issue a blanket

    injunction, staying litigation against the named receiver and the entities under his control unless

    leave of that court is first obtained.”).




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              As set forth below, the following proceedings—excluding the instant proceeding—and

    all law enforcement, police, or regulatory actions and actions of the Commission related to the

    above-captioned enforcement action, are hereby stayed until further Order of this Court:

              All civil legal proceedings of any nature, including, but not limited to, bankruptcy
              proceedings, arbitration proceedings, foreclosure actions, default proceedings, or any
              other actions of any nature involving: (a) the Receiver, in his capacity as Receiver; (b)
              any of the Receivership Entities’ property interests, wherever located; (c) any of the
              Receivership Entities, including subsidiaries and partnerships; or, (d) any of a
              Receivership Entity’s past or present officers, directors, managers, agents, or general or
              limited partners sued for, or in connection with, any action taken by them while acting
              in such capacity of any nature, whether as plaintiff, defendant, third-party plaintiff, third-
              party defendant, or otherwise (such proceedings are hereinafter referred to as “Ancillary
              Proceedings”).

             The parties to any and all Ancillary Proceedings are enjoined from commencing or

   continuing any such legal proceeding, or from taking any action, in connection with any such

   proceeding, including, but not limited to, the issuance or employment of process.

             All Ancillary Proceedings are stayed in their entirety, and all Courts having any jurisdiction

   thereof are enjoined from taking or permitting any action until further Order of this Court. Further,

   as to a cause of action accrued or accruing in favor of one or more of the Receivership Entities

   against a third person or party, any applicable statute of limitation is tolled during the period in

   which this injunction against commencement of legal proceedings is in effect as to that cause of

   action.

             DONE AND ORDERED in Fort Lauderdale, Florida, this 31st day of July, 2020.




                                                             _____________________________
                                                             RODOLFO A. RUIZ II
                                                             UNITED STATES DISTRICT JUDGE
   Copies to: Counsel of Record

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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 20-CIV-81205-RAR

    SECURITIES AND EXCHANGE                                                UNDER SEAL
    COMMISSION,

           Plaintiff,

    v.

    COMPLETE BUSINESS SOLUTIONS
    GROUP, INC. d/b/a PAR FUNDING, et al.,

          Defendants.
    _______________________________/

                  ORDER GRANTING EMERGENCY EX PARTE MOTION
              FOR TEMPORARY RESTRAINING ORDER AND OTHER RELIEF

           THIS CAUSE comes before the Court upon Plaintiff’s Emergency Ex Parte Motion for

    Temporary Restraining Order and Other Relief [ECF No. 14] (“Motion”), filed on July 27, 2020.

    The Motion seeks the following relief with respect to Defendants Complete Business Solutions

    Group, Inc. d/b/a PAR Funding (“Par Funding”), Full Spectrum Processing, Inc. (“Full

    Spectrum”), ABetterFinancialPlan.com LLC d/b/a A Better Financial Plan (“ABFP”), ABFP

    Management Company, LLC f/k/a Pillar Life Settlement Management Company, LLC (“ABFP

    Management”), ABFP Income Fund, LLC (“ABFP Income Fund”), ABFP Income Fund 2, L.P.

    (“ABFP Income Fund 2”), United Fidelis Group Corp. (“United Fidelis”), Fidelis Financial

    Planning LLC (“Fidelis Financial”), Retirement Evolution Group, LLC (“Retirement Evolution”),

    Retirement Evolution Income Fund LLC, a/k/a RE Income Fund (“RE Income Fund”), RE Income

    Fund 2 LLC (“RE Income Fund 2”), Lisa McElhone (“McElhone”), Joseph Cole Barleta, a/k/a Joe

    Cole (“Cole”), Joseph W. LaForte, a/k/a Joe Mack, a/k/a Joe Macki, a/k/a Joe McElhone
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    (“LaForte”), Perry S. Abbonizio, Dean J. Vagnozzi, Michael C. Furman, and John Gissas, and

    Relief Defendant L.M.E. 2017 Family Trust (“L.M.E. Trust”):

           1. a Temporary Restraining Order;

           2. an Order to Show Cause Why a Preliminary Injunction Should Not be Granted;

           3. an Order Freezing the Assets of Defendants and Relief Defendant;

           4. an Order Requiring Sworn Accountings;

           5. an Order Prohibiting Destruction of Documents; and

           6. an Order Expediting Discovery.

           The Court has reviewed Plaintiff’s Complaint, the Motion, Plaintiff’s exhibits filed in

    support of the Motion, and the Response to Plaintiff’s Ex-Parte Motions for Appointment of a

    Receiver and for an Asset Freeze, submitted on July 28, 2020 by Defendants Par Funding, Full

    Spectrum, McElhone, Cole, LaForte, and L.M.E. Trust.

           The Court finds that Plaintiff has made a sufficient and proper showing in support of the

    relief granted herein by: (i) presenting a prima facie case of securities laws violations by

    Defendants; and (ii) showing a reasonable likelihood the Defendants will harm the investing public

    by continuing to violate the federal securities laws unless they are immediately restrained. The

    Court also finds good cause to believe that unless immediately enjoined by Order of this Court,

    the Defendants may dissipate, conceal or transfer from the jurisdiction of this Court assets which

    could be subject to an Order of Disgorgement. Accordingly, it is hereby

           ORDERED AND ADJUDGED that Plaintiff’s Motion [ECF No. 14] is GRANTED as

    follows:




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                                                       I.

            SHOW CAUSE HEARING AND TELEPHONIC STATUS CONFERENCE

           The Defendants shall show cause, if any, before the Court via a Zoom hearing on

    Tuesday, August 4, 2020 at 3:30 P.M., or as soon thereafter as the matter can be heard, why a

    Preliminary Injunction pursuant to Rule 65 of the Federal Rules of Civil Procedure should not be

    granted against Defendants, as requested by Plaintiff. In advance of the hearing, the Court will

    provide the parties with information on how to join via Zoom.

           Additionally, the Court will hold a telephonic status conference on Monday, August 3,

    2020 at 4:15 P.M. The parties are instructed to call 1-877-402-9753 by no later than 4:10 P.M.

    The access code is 9372453 and the password is 0918. The Court requires that the parties appear

    via a landline (i.e., not a cellular phone or a speaker phone) for clarity.

                                                      II.

                                TEMPORARY RESTRAINING ORDER

                                A. Section 17(a)(1) of the Securities Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman are preliminarily restrained and

    enjoined from violating Section 17(a)(1) of the Securities Act of 1933 (“Securities Act”), 15

    U.S.C. § 77q(a)(1), in the offer or sale of any security by the use of any means or instruments of

    transportation or communication in interstate commerce or by use of the mails, directly or

    indirectly: to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i)

    creating a false appearance or otherwise deceiving any person, or (ii) disseminating false or

    misleading documents, materials, or information or making, either orally or in writing, any false



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    or misleading statement in any communication with any investor or prospective investor, about:

    (A) any investment in securities; (B) the prospects for success of any product or company; (C) the

    use of investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state or federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                                B. Section 17(a)(2) of the Securities Act

           Pending further Order of the Court, all Defendants are preliminarily restrained and enjoined

    from violating Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a)(2), in the offer or sale of

    any security by the use of any means or instruments of transportation or communication in

    interstate commerce or by use of the mails, directly or indirectly: to obtain money or property by

    means of any untrue statement of a material fact or any omission to state a material fact necessary

    in order to make the statements made, in light of the circumstances under which they were made,

    not misleading, by, directly or indirectly (i) creating a false appearance or otherwise deceiving any

    person, or (ii) disseminating false or misleading documents, materials, or information or making,

    either orally or in writing, any false or misleading statement in any communication with any



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    investor or prospective investor, about: (A) any investment in securities; (B) the prospects for

    success of any product or company; (C) the use of investor funds; (D) the safety of any securities

    investment; (E) the use of investor funds or investment proceeds; (F) Orders issued against the

    Defendants by state or federal enforcement agencies; (G) the financial status of Par Funding; or

    (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of the Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                                C. Section 17(a)(3) of the Securities Act

           Pending further Order of the Court, all Defendants are preliminarily restrained and enjoined

    from violating Section 17(a)(3) of the Securities Act, 15 U.S.C. § 77q(a)(3), in the offer or sale of

    any security by the use of any means or instruments of transportation or communication in

    interstate commerce or by use of the mails, directly or indirectly: to engage in any transaction,

    practice, or course of business which operates or would operate as a fraud or deceit upon the

    purchaser, by, directly or indirectly (i) creating a false appearance or otherwise deceiving any

    person, or (ii) disseminating false or misleading documents, materials, or information or making,

    either orally or in writing, any false or misleading statement in any communication with any

    investor or prospective investor, about: (A) any investment in securities; (B) the prospects for

    success of any product or company; (C) the use of investor funds; (D) the safety of any securities

    investment; (E) the use of investor funds or investment proceeds; (F) Orders issued against the




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    Defendants by state or federal enforcement agencies; (G) the financial status of Par Funding; or

    (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of the Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                     D.      Section 10(b) and Rule 10b-5(a) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman, and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby restrained and enjoined from violating

    Section 10(b) and Rule 10b-5(a) of the Securities Exchange Act of 1934 (“Exchange Act”), 15

    U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(a), by using any means or instrumentality of interstate

    commerce, or of the mails, or of any facility of any national securities exchange, in connection

    with the purchase or sale of any security, to employ any device, scheme, or artifice to defraud, by,

    directly or indirectly (i) creating a false appearance or otherwise deceiving any person, or (ii)

    disseminating false or misleading documents, materials, or information or making, either orally or

    in writing, any false or misleading statement in any communication with any investor or

    prospective investor, about: (A) any investment in securities; (B) the prospects for success of any

    product or company; (C) the use of investor funds; (D) the safety of any securities investment; (E)

    the use of investor funds or investment proceeds; (F) Orders issued against the Defendants by state




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    or federal enforcement agencies; (G) the financial status of Par Funding; or (H) the management

    of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                   E.      Section 10(b) and Rule 10b-5(b) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman, and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby restrained and enjoined from violating:

    Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(b), 17 C.F.R.

    § 240.10b-5(b), by using any means or instrumentality of interstate commerce, or of the mails, or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security, to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i) creating

    a false appearance or otherwise deceiving any person, or (ii) disseminating false or misleading

    documents, materials, or information or making, either orally or in writing, any false or misleading

    statement in any communication with any investor or prospective investor, about: (A) any



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    investment in securities; (B) the prospects for success of any product or company; (C) the use of

    investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state or federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                       F.      Section 10(b) and Ruleb-5(c) of the Exchange Act

           Pending further Order of the Court, Defendants Par Funding, Full Spectrum, ABFP, ABFP

    Management, ABFP Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning,

    McElhone, LaForte, Cole, Abbonizio, Vagnozzi, and Furman and their respective directors, officers,

    agents, servants, employees, attorneys, representatives and those persons in active concert or

    participation with them, and each of them, are hereby restrained and enjoined from violating

    Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Exchange Act Rule 10b-5(c), 17 C.F.R.

    § 240.10b-5(c), by using any means or instrumentality of interstate commerce, or of the mails, or

    of any facility of any national securities exchange, in connection with the purchase or sale of any

    security, to employ any device, scheme, or artifice to defraud, by, directly or indirectly (i) creating

    a false appearance or otherwise deceiving any person, or (ii) disseminating false or misleading



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    documents, materials, or information or making, either orally or in writing, any false or misleading

    statement in any communication with any investor or prospective investor, about: (A) any

    investment in securities; (B) the prospects for success of any product or company; (C) the use of

    investor funds; (D) the safety of any securities investment; (E) the use of investor funds or

    investment proceeds; (F) Orders issued against the Defendants by state of federal enforcement

    agencies; (G) the financial status of Par Funding; or (H) the management of Par Funding.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP Income Fund, ABFP Income

    Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole, Abbonizio, Vagnozzi, or

    Furman’s officers, directors, agents, servants, employees, and attorneys; and (b) other persons in

    active concert or participation with Par Funding, Full Spectrum, ABFP, ABFP Management, ABFP

    Income Fund, ABFP Income Fund 2, United Fidelis, Fidelis Planning, McElhone, LaForte, Cole,

    Abbonizio, Vagnozzi, or Furman.

                            G.     Sections 5(a) and 5(c) of the Securities Act

           Pending further Order of the Court, that all Defendants and their respective directors,

    officers, agents, servants, employees, attorneys, representatives and those persons in active concert

    or participation with them, and each of them, are hereby enjoined from violating Sections 5(a) and

    5(c) of the Securities Act, 15 U.S.C. § 77e, by directly or indirectly, in the absence of any

    applicable exemption:

           (a)     Unless a registration statement is in effect as to a security, making use of any means

                   or instruments of transportation or communication in interstate commerce or of the




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                   mails to sell such security through the use or medium of any prospectus or

                   otherwise;

           (b)     Unless a registration statement is in effect as to a security, carrying or causing to

                   be carried through the mails or in interstate commerce, by any means or instruments

                   of transportation, any such security for the purpose of sale or for delivery after sale;

                   or

           (c)     Making use of any means or instruments of transportation or communication in

                   interstate commerce or of the mails to offer to sell or offer to buy through the use

                   or medium of any prospectus or otherwise any security, unless a registration

                   statement has been filed with the Securities and Exchange Commission as to such

                   security, or while the registration statement is the subject of a refusal order or stop

                   order or (prior to the effective date of the registration statement) any public

                   proceeding or examination under Section 8 of the Securities Act, 15 U.S.C. § 77h.

           As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

    binds the following who receive actual notice of this Order by personal service or otherwise: (a)

    any of Defendants’ officers, directors, agents, servants, employees, and attorneys; and (b) other

    persons in active concert or participation with any Defendant.

                                                     III.

            ASSET FREEZE AS TO PAR FUNDING, MCELHONE, AND LAFORTE

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants Par Funding, McElhone, and LaForte and their respective directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, who receive notice of



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    this Order by personal service, mail, email, facsimile transmission or otherwise, hereby are

    restrained from, directly or indirectly, transferring, setting off, receiving, changing, selling,

    pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or property,

    including but not limited to cash, free credit balances, fully paid for securities, personal property,

    real property, and/or property pledged or hypothecated as collateral for loans, or charging upon or

    drawing from any lines of credit, owned by, controlled by, or in the possession of, whether jointly

    or singly, and wherever located, Par Funding, Lisa McElhone, and Joseph LaForte, a/k/a Joe Mack,

    a/k/a Joe Macki, a/k/a Joe McElhone.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Defendants Par Funding,

    McElhone, or LaForte, directly or indirectly, held jointly or singly, and wherever located, and

    which receives actual notice of this Order by personal service, mail, email, facsimile, or otherwise,

    shall hold and retain within its control and prohibit the withdrawal, removal, transfer, disposition,

    pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment, or other

    disposal of any such funds or other assets.

           This asset freeze is limited to the amount received from the securities fraud, which is

    estimated at this time to be $482,000,000.

                             ASSET FREEZE AS TO FULL SPECTRUM

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           Defendant Full Spectrum and its respective directors, officers, agents, servants, employees,

    attorneys, depositories, banks, and those persons in active concert or participation with any one or

    more of them, and each of them, who receive notice of this Order by personal service, mail, email,

    facsimile transmission or otherwise, hereby are restrained from, directly or indirectly, transferring,



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    setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing of,

    or withdrawing any assets or property of Par Funding, Full Spectrum, McElhone, or LaForte.

           This asset freeze is limited to the amount received from the securities fraud, which is

    estimated at this time to be $4,398,535.

                          ASSET FREEZE AS TO DEFENDANT ABFP,
                       ABFP INCOME FUND, AND ABFP INCOME FUND 2

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants ABFP, ABFP Income Fund, and ABFP Income Fund 2, and their

    respective directors, officers, agents, servants, employees, attorneys, depositories, banks, and those

    persons in active concert or participation with any one or more of them, and each of them, who

    receive notice of this Order by personal service, mail, email, facsimile transmission or otherwise,

    hereby are restrained from, directly or indirectly, transferring, setting off, receiving, changing,

    selling, pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or

    property, including but not limited to cash, free credit balances, fully paid for securities, personal

    property, real property, and/or property pledged or hypothecated as collateral for loans, or charging

    upon or drawing from any lines of credit, owned by, controlled by, or in the possession of, whether

    jointly or singly, and wherever located: ABFP, ABFP Income Fund, and ABFP Income Fund 2.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Defendants ABFP, ABFP

    Income Fund, and ABFP Income 2, directly or indirectly, held jointly or singly, and wherever

    located, and which receives actual notice of this Order by personal service, mail, email, facsimile,

    or otherwise, shall hold and retain within its control and prohibit the withdrawal, removal, transfer,

    disposition, pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment,

    or other disposal of any such funds or other assets.

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           C.      This asset freeze is limited to the amounts ABFP, ABFP Income Fund, and ABFP

    Income Fund 2 received from the securities fraud, which is estimated at this time to be:

    $25,487,690 as to ABFP Income Fund and ABFP, jointly and severally; $13,252,600 as to ABFP

    Income Fund 2 and ABFP, jointly and severally; and $1,914,045 as to ABFP independent of ABFP

    Income Fund and ABFP Income Fund 2.

    ASSET FREEZE AS TO DEFENDANTS UNITED FIDELIS AND FIDELIS FINANCIAL

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants United Fidelis and Fidelis Financial, and their respective directors,

    officers, agents, servants, employees, attorneys, depositories, banks, and those persons in active

    concert or participation with any one or more of them, and each of them, who receive notice of

    this Order by personal service, mail, email, facsimile transmission or otherwise hereby are,

    restrained from, directly or indirectly, transferring, setting off, receiving, changing, selling,

    pledging, assigning, liquidating or otherwise disposing of, or withdrawing any assets or property,

    including but not limited to cash, free credit balances, fully paid for securities, personal property,

    real property, and/or property pledged or hypothecated as collateral for loans, or charging upon or

    drawing from any lines of credit, owned by, controlled by, or in the possession of, whether jointly

    or singly, and wherever located: United Fidelis and Fidelis Financial.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of United Fidelis and Fidelis

    Financial, directly or indirectly, held jointly or singly, and wherever located, and which receives

    actual notice of this Order by personal service, mail, email, facsimile, or otherwise, shall hold and

    retain within its control and prohibit the withdrawal, removal, transfer, disposition, pledge,




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    encumbrance, assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of

    any such funds or other assets.

           C.      This asset freeze is limited to the amounts United Fidelis and Fidelis Financial

    received from the fraud, which is estimated at this time to be: $11,603,000, jointly and severally.

              ASSET FREEZE AS TO DEFENDANTS RETIREMENT EVOLUTION,
                      RE INCOME FUND, AND RE INCOME FUND 2

           Pending determination of Plaintiff’s request for a Preliminary Injunction:

           A.      Defendants Retirement Evolution, RE Income Fund, and RE Income Fund 2, and

    their respective directors, officers, agents, servants, employees, attorneys, depositories, banks, and

    those persons in active concert or participation with any one or more of them, and each of them,

    who receive notice of this Order by personal service, mail, email, facsimile transmission or

    otherwise, hereby are restrained from, directly or indirectly, transferring, setting off, receiving,

    changing, selling, pledging, assigning, liquidating or otherwise disposing of, or withdrawing any

    assets or property, including but not limited to cash, free credit balances, fully paid for securities,

    personal property, real property, and/or property pledged or hypothecated as collateral for loans,

    or charging upon or drawing from any lines of credit, owned by, controlled by, or in the possession

    of, whether jointly or singly, and wherever located: Retirement Evolution, RE Income Fund, and

    RE Income Fund 2.

           B.      Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Retirement Evolution, RE

    Income Fund, and RE Income Fund 2, directly or indirectly, held jointly or singly, and wherever

    located, and which receives actual notice of this Order by personal service, mail, email, facsimile,

    or otherwise, shall hold and retain within its control and prohibit the withdrawal, removal, transfer,




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    disposition, pledge, encumbrance, assignment, set off, sale, liquidation, dissipation, concealment,

    or other disposal of any such funds or other assets.

            C.        This asset freeze is limited to the amounts Retirement Evolution, RE Income Fund,

    and RE Income Fund 2 received from the fraud, which is estimated at this time to be: $6.5 million

    as to Retirement Evolution; $5,450,000 as to RE Income Fund; and $150,000 as to RE Income

    Fund 2.

                              ASSET FREEZE AS TO DEFENDANT COLE

            Pending determination of Plaintiff’s request for a Preliminary Injunction:

            A.        Defendant Cole and his respective directors, officers, agents, servants, employees,

    attorneys, depositories, banks, and those persons in active concert or participation with any one or

    more of them, and each of them, who receive notice of this Order by personal service, mail, email,

    facsimile transmission or otherwise, hereby are restrained from, directly or indirectly, transferring,

    setting off, receiving, changing, selling, pledging, assigning, liquidating or otherwise disposing of,

    or withdrawing any assets or property, including but not limited to cash, free credit balances, fully

    paid for securities, personal property, real property, and/or property pledged or hypothecated as

    collateral for loans, or charging upon or drawing from any lines of credit, owned by, controlled

    by, or in the possession of, whether jointly or singly, and wherever located: Joseph Cole Barleta,

    a/k/a Joe Cole.

            B.        Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of Cole, directly or indirectly,

    held jointly or singly, and wherever located, and which receives actual notice of this Order by

    personal service, mail, email, facsimile, or otherwise, shall hold and retain within its control and




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    prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance, assignment, set off,

    sale, liquidation, dissipation, concealment, or other disposal of any such funds or other assets.

            C.         This asset freeze is limited to the amount Cole received from the fraud, which is

    estimated at this time to be $16,159,000.

                          ASSET FREEZE AS TO L.M.E. 2017 FAMILY TRUST

            Pending determination of Plaintiff’s request for a Preliminary Injunction:

            A.         Relief Defendant L.M.E. 2017 Family Trust and its respective directors, officers,

    agents, servants, employees, attorneys, depositories, banks, and those persons in active concert or

    participation with any one or more of them, and each of them, who receive notice of this Order by

    personal service, mail, email, facsimile transmission or otherwise, hereby are restrained from,

    directly or indirectly, transferring, setting off, receiving, changing, selling, pledging, assigning,

    liquidating or otherwise disposing of, or withdrawing any assets or property, including but not

    limited to cash, free credit balances, fully paid for securities, personal property, real property,

    and/or property pledged or hypothecated as collateral for loans, or charging upon or drawing from

    any lines of credit, owned by, controlled by, or in the possession of, whether jointly or singly, and

    wherever located: The L.M.E. 2017 Family Trust.

            B.         Any financial or brokerage institution or other person or entity holding any such

    funds or other assets, in the name, for the benefit or under the control of the L.M.E. 2017 Family

    Trust, directly or indirectly, held jointly or singly, and wherever located, and which receives actual

    notice of this Order by personal service, mail, email, facsimile, or otherwise, shall hold and retain

    within its control and prohibit the withdrawal, removal, transfer, disposition, pledge, encumbrance,

    assignment, set off, sale, liquidation, dissipation, concealment, or other disposal of any such funds

    or other assets.



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           C.        This asset freeze is limited to the amount the L.M.E. 2017 Family Trust received

    from the fraud, which is estimated at this time to be $14.3 million.

                                                      IV.

                                         SWORN ACCOUNTINGS

                     Accounting and Identification of Accounts by Each Defendant

           Within five calendar days of the issuance of this Order, each Defendant, separately, shall:

               (a)   make a sworn accounting to this Court and the Plaintiff of all funds, whether in the

    form of compensation, commissions, income (including payments for assets, shares or property of

    any kind), and other benefits (including the provision of services of a personal or mixed business

    and personal nature) received, directly or indirectly, by the Defendant making the sworn

    accounting;

           (b)       make a sworn accounting to this Court and the Plaintiff of all assets, funds, or other

    properties, whether real or personal, held by the Defendant making the sworn accounting, jointly

    or individually, or for its direct or indirect beneficial interest, or over which it maintains control,

    wherever situated, stating the location, value, and disposition of each such asset, fund, and other

    property; and

           (c)       provide to the Court and the Plaintiff a sworn identification of all accounts

    (including, but not limited to, bank accounts, savings accounts, securities accounts and deposits of

    any kind and wherever situated) in which the Defendant making the sworn accounting (whether

    solely or jointly), directly or indirectly (including through a corporation, partnership, relative,

    friend or nominee), either has an interest or over which he has the power or right to exercise

    control.




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                                                      V.

                                      RECORDS PRESERVATION

           Pending determination of the Plaintiff’s request for a Preliminary Injunction, all Defendants

    and the Relief Defendant, their directors, officers, agents, servants, employees, attorneys,

    depositories, banks, and those persons in active concert or participation with any one or more of

    them, and each of them, hereby are restrained and enjoined from, directly or indirectly, destroying,

    mutilating, concealing, altering, disposing of, or otherwise rendering illegible in any manner, any

    of the books, records, documents, correspondence, brochures, manuals, papers, ledgers, accounts,

    statements, obligations, files and other property of or pertaining to any and all Defendants and the

    Relief Defendant, wherever located and in whatever form, electronic or otherwise, until further

    Order of this Court.

                                                     VI.

                                       EXPEDITED DISCOVERY

           (a)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties may take depositions upon oral examination of

    parties and non-parties subject to two days’ notice. Should any Defendant fail to appear for a

    properly noticed deposition, that party may be prohibited from introducing evidence at the hearing

    on the Plaintiff’s request for a preliminary injunction;

           (b)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties shall be entitled to serve interrogatories, requests for

    the production of documents and requests for admissions. The parties shall respond to such

    discovery requests within two days of service;




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           (c)     Immediately upon entry of this Order, and while the Plaintiff’s request for a

    Preliminary Injunction is pending, the parties may issue subpoenas for documents, things and

    electronically stored information to non-parties pursuant to Fed. R. Civ. P. 45, with responses due

    within one week of the date of service;

           (d)     All responses to the Plaintiff’s discovery requests shall be delivered to Amie Riggle

    Berlin, Esq. at 801 Brickell Avenue, Suite 1950, Miami, Florida 33131 by the most expeditious

    means available; and

           (e)     Service of discovery requests shall be sufficient if made upon the parties by email,

    facsimile, or overnight courier, and depositions may be taken by telephone or other remote

    electronic means.

                                                    VII.

                                   RETENTION OF JURISDICTION

           This Court shall retain jurisdiction over this matter and Defendants and Relief Defendants

    in order to implement and carry out the terms of all Orders and Decrees that may be entered and/or

    to entertain any suitable application or motion for additional relief within the jurisdiction of this

    Court, and will order other relief that this Court deems appropriate under the circumstances.



           DONE AND ORDERED in Fort Lauderdale, Florida, this 28th day of July, 2020.




                                                            RODOLFO A. RUIZ II
                                                            UNITED STATES DISTRICT JUDGE


    Copies to: Counsel of Record



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